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                  UNITED STATES COURT OF APPEALS

                         FOR THE TENTH CIRCUIT

  JAMES HUNTER

            Plaintiff—Appellant,

                                            Case No. 24-1210
                                            (D.C. No. 23-CV-2989-DDD-MEH)

  ALEXIS KING, et al.

             Defendant—Appellee.




___________________________________________________________________

                              OPENING BRIEF

__________________________________________________________________

    Appeal from the United States District Court for the District of Colorado
                       Honorable Daniel D. Domenico
                  Civil Action No. 23-CV-2989-DDD-MEH

ORAL ARGUMENT IS REQUESTED



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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiff Mr. Hunter respectfully moves the Tenth Circuit for leave to present

oral argument pursuant to Fed.R.App. 34(a); 10th Cir.R. 34.1.9.1 and asserts that oral

argument would materially assist in the determination of this appeal. As such, this

case should, therefore, be submitted for oral argument.

             STATEMENT OF PRIOR OR RELATED APPEALS

      No prior or related appeals exist.




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                      CERTIFICATE OF COMPLIANCE

1.     The Appellant's Brief is in compliance with the type-volume limitations of

Fed.R.App.P. 32(a)(7)(B) because this brief does not exceed 13,000 words and

contains 6,569 words.

2.     This brief complies with the typeface requirements of Fed.R.App.P. 32(a)(5)

and the type style requirements of Fed.R.App.P. 32(a)(6), because this brief has

been prepared in a proportionally space typeface used by Microsoft Office Word.




                                                s/ Kenneth Mark Burton




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                      STATEMENT OF JURISDICTION

          The Court has subject matter jurisdiction over the action pursuant to the 42

U.S.C. 1983 and 28 U.S.C. 1331, and 1342. Jurisdiction to review the district court's

entry of judgment is conferred by 28 U.S.C. 1291. The District Court entered an

Order of Dismissal on April 19, 2024. Hunter v. King, 2024 U.S. Dist. LEXIS 93881

*15-16. Mr. Hunter filed a timely Notice of Appeal before May 18,

2023. Accordingly, the Court has jurisdiction over this appeal.

                                STATEMENT OF ISSUES

I.     Whether Mr. Hunter's Complaint alleged sufficient facts to state a

       constitutional violation under the Fourteenth Amendment.

II.    Did the Trial Court err in dismissing Plaintiff’s Complaint under the Rooker-

       Feldman Doctrine?

IV. Does the Rooker-Feldman Doctrine apply, here, where an individual's request

       for DNA evidence is born of a recent discovery of malfeasance of the Colorado

       Bureau of Investigations that was never fully and finally litigated?

V. Does the Rooker-Feldman doctrine apply in the face of a State Court judgment

       that was rendered a nullity due to recent changes in statutory Law?




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VI. Is the Application of the Rooker-Feldman doctrine based on a State Court

      denial of DNA testing improper where actual innocent is asserted, and DNA

      testing is requested to establish a gateway claim for purposes of Habeas

      Corpus?

VII. Is Federal Law –Schlup and McQuiggin, in conflict with Colorado law?

VIII. What is the proper mechanism to prove actual innocence through DNA testing

      42 U.S.C. 1983 or 28 U.S.C. 2254?


                          STATEMENT OF THE CASE

I.     Nature of the Case

       Plaintiff Mr. James Hunter filed a 1983 action against various governmental

agencies, naming four key individuals that have control and/or custody of

exculpatory DNA and forensic evidence needed to prove Mr. Hunter's actual

innocence. Interestingly, these Defendants each refuse to produce this exculpatory

evidence, which has had the direct effect of violating Mr. Hunter's Fourteenth

Amendment right to collaterally attack his conviction based on the actual innocence

exception. Unfortunately, the law is unclear as to the proper mechanism for proving

actual innocence (28 U.S.C. 2254 and 28 U.S.C. 1983) when seeking to effectively

and fairly attack a state court judgment.

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      The Trial Court summarily dismissed Mr. Hunter's Complaint based on an

erroneous finding of facts and misapplication of controlling legal authority—

Rooker-Feldman doctrine, which failed to properly recognize that the issue of actual

innocence was based on the recent discovery of Mr. Hunter's false identification by

a corrupt Colorado Bureau of Investigation forensic scientists, that begs for the

retesting of biological evidence and disclosure of internal audit reports that are

highly exculpatory.

      Plaintiff Mr. Hunter appeals the Trial Court's erroneous finding of facts and

misapplication of law and moves the Tenth Circuit Court of Appeals to rescind the

extant judgment and remand for further proceedings on the merits.

COURSE OF PROCEEDINGS AND DISPOSITION IN DISTRICT COURT

      A.     Complaint & Motion for Preliminary Injunction

      On November 13, 2023, the Plaintiff Mr. James Hunter filed a Complaint

(ECF # l) under 42 U.S.C. 1983, alleging that his due process rights under the 14th

Amendment were violated when the Defendants Alexis King, Chris Schaffer, Chief

of Police Smith, and Yvonne M. Woods intentionally concealed exculpatory

evidence and denied him access to DNA evidence required to effectively establish

an exception to the procedural bars (successive petition and time bar)—actual


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innocence. (ECF #1, pp. 1-20) Mr. Hunter has never alleged that his due process

rights under the 14th Amendment were violated with respect to a Colorado Court of

Appeals decision denying a postconviction petition for DNA testing. Pointedly, this

action was not an appeal of the State Court judgment.

      Plaintiff sought both declaratory and injunctive relief finding that the acts of

Defendants violated his due process rights and injunctive relief requiring

Defendants to provide him access to certain evidence for DNA testing, including

Colorado Bureau of Investigation reports that were exculpatory. (Id. at ¶ 64.)

      On January 19, 2024, Defendants Alexis King and Reggie Marinelli filed a

motion to dismiss Plaintiffs complaint. (Doc. No. 27.)

      On January 23, 2024, Defendants Alex Jameson filed a motion to dismiss.

(Doc. No. 28).

      In   the   amended     complaint,   additional     allegations   regarding     the

constitutionality of Colorado's post-conviction DNA statute were added to enhance

the factual pleading and focus the issue on the recent discovery of a false

identification by Colorado Bureau of Investigation's forensic scientist Woods. (Doc.

No. 39.). The Defendants each subsequently moved to dismiss the amended

complaint. (Doc. Nos. 41, 43, 47, 72.)


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      B.     Summary Dismissal of Injunctive and Declaratory Relief.

      On April 19th, 2024, the Trial Court entered a 12 page order of dismissal,

which provides an analysis of the legal standards applied, but unfortunately applied

a distorted and incomplete factual narrative, that predictably yielded a distorted and

inaccurate finding of facts; specifically, the Trial Court acknowledge a Colorado

appellate action as a valid holding that involved a DNA request, but ignored that

changes in the law and factual circumstance presented new issues that were never

finally and fully litigated, and ignored that changes in the law rendered this holding

invalid. Consequently, the Trial Court misapplied the Rooker-Feldman doctrine to

an invalid holding and factual issues that were never resolved, and effectively

denied Mr. Hunter a gateway claim based on actual innocence. Hunter v. King, 2024

U.S. Dist. LEXIS 93881 *4-16 In addition, the District Court's analysis of the

Rooker-Feldman doctrine was single minded and ignored that Congress has

authorized the attack of state court criminal judgments through federal habeas

review of state prisoners' petitions. 28 U.S.C. 2254(a), which as a threshold matter

requires a showing of actual innocence in this case through retesting of DNA

evidence and disclosure of exculpatory evidence. See Exxon Mobil Corp. v. Saudi

Basic Indus. corp., 544 U.S. 280, 292 n. 8 (2005).


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      Plaintiff Mr. Hunter, now, appeals the Trial Court's dismissal of his complaint,

and respectfully moves the Tenth Circuit Court of Appeals to rescind the extant

order and judgment.

                FACTS RELEVANT TO ISSUES ON APPEAL

      This is an appeal of an innocent citizen's denial of DNA testing and

exculpatory evidence required to establish a basis for Federal Habeas Corpus and/or

State clemency and postconviction review. The Defendants and other state officials

recognize that the identification evidence used to convict Mr. Hunter was fraudulent

or invalid, but they actively seek to conceal this evidence and are preventing DNA

testing in an effort to cover-up a massive fraud scheme perpetuated by the Colorado

Bureau of Investigations. This miscarriage of justice is outrageous and has no place

in our system of justice, presenting the quintessential circumstance in which the

Tenth Circuit should rescind the denial of an obvious due process claim in the

interest of justice and order DNA testing. Otherwise, how else can an innocent

person prove his innocence for purposes of clemency and/or Federal Habeas

review? Why withhold the truth and withhold the only true means of proving

innocence that is required for further Federal Habeas and State postconviction

relief? The answer is obvious, but difficult to say—corruption in its purest form.

      A. Mr. Hunter is Factually and Actually Innocent

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      The Prosecution arrested and charged Mr. Hunter with second-degree

burglary and sexual assault. Mr. Hunter was convicted of second-degree burglary,

and sexual assault. The Prosecution's theory of case was that Mr. Hunter unlawfully

entered the premises of R.H., his neighbor, while wearing a mask, and sexually

assaulted her and her daughter.

      It is alleged that on April 23, 2002, the victim R.H. was at her residence m

Lakewood, Colorado, when around 1 a.m. in the morning, she saw a figure in her

hall of her home with what appeared to be a sock over his face. The burglar attacked

R.H. and sexually assaulted her repeated. This struggle between the victim and

perpetrator and the sexual assault left a substantial amount of biological evidence

throughout the residence, including in a rape kit that was collected.

      Unfortunately, the forensic science was undeveloped in 2002 and left

virtually all this evidence untested. Importantly, the rape kit was never tested.

Particularly relevant is that with today's science, a very small quantity of sperm cells

that were missed during the initial review can be identified, including epithelial cells

(skin cells) that previously could not be detected using "autosomal STR" or "Y-STR

testing". This evidence if tested would definitively prove Mr. Hunter's innocence.




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      Eventually, Mr. Hunter was arrested and charged with the underlying crime.

However, this criminal action was dismissed at a preliminary hearing due to the

absence of evidence linking Mr. Hunter to the crime scene. In fact, Judge Olson was

so outraged that the Defendant Yvonne Woods had submitted a false affidavit for

the arrest of Mr. Hunter, that he dismissed the case:

             The Court will find at this point in the investigation
             having knocked out what is the one piece that the Court
             issued the Affidavit based on, and set bond on, is not
             probable cause and I think we need to go back to the
             timing here. I signed this on June 26th is when
             microscopically there's an unequivocal statement that
             pubic hair found in her vagina were his and not hers. Ah,
             now we find out it's, I mean the person that made the
             findings [Yvonne Woods] is embarrassed, um, but the
             fact of the matter is, ah, it's just the opposite. They're not
             his, and probably hers. Ah, and that's a huge difference to
             the Court. There is an issue as to whether this warrant
             would have been signed without that piece of information
             in it but there's not a big issue as to whether there is
             probable cause at this point the Court's perspective there
             just, it's one thing to say the Court will view he evidence
             in a light most favorable to the People, but in each case
             we're talking about inferences and evidence doesn't tie,
             ah, Mr. Hunter to the case at least at this point in the
             investigation on, ah, any basis other than he, he is the
             person who lives next door. And, so the Court will find
             at this point that in deed more investigation does need to
             be done. . . But the fact of the matter is, um, he's been
             held on a quarter million dollar bond when the premise
             of the warrant and the premise of the bond just turned out
             to be false. So the defendant will be ordered release.


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          Preliminary Hearing, October 17, 2002, Transcripts, pp. 90-92, Case No.

02CR3254 (Jefferson County). This false arrest and evidence of a malicious

prosecution was the motivating factor behind Wood's subsequent efforts to rearrest

Mr. Hunter and conviction him based on false evidence.

      Ten months after the alleged crime, new evidence was manufactured to

establish identification of Mr. Hunter as the rapist, after the crime scene had been

thoroughly reviewed and no evidence was found linking Mr. Hunter to the subject

burglary and sexual assault.


      Evidence of a hair pack was found and logged with the Lakewood Police

Department. Interestingly though, Technicians from CBI and Lakewood Police

Department could not confirm the evidentiary source of the hairs, suggesting that

this evidence had been manufactured and derivative of the original hair pack

produced voluntarily by Mr. Hunter during his initial arrest. Still, the Prosecution

used Woods manufactured evidence to convict Mr. Hunter, an innocent citizen.

      On December 12, 2002, a grand jury was convened, approximately 7 days

after this false hair evidence was manufactured by Woods and entered into the

Lakewood Police Departments evidence locker. Mr. Hunter was indicted based on



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the false testimony provided by CBI Forensic Scientist Woods that she had tested

this new evidence, and that it linked Mr. Hunter to the burglary and rape of R.H.

      Mr. Hunter's defense has been consistent from the outset, that he had

absolutely nothing to do with this crime. The interested parties and law enforcement

know to a degree of certainty that Mr. Hunter is innocence and that he was framed

by Woods, but he remains in prison deprived of any effort to prove his innocence,

while the evidence in this matter remains untested, including the rape kit.

        B. Mr. Hunter's Demand for DNA and Exculpatory Evidence

      The factual pleadings present a meritorious basis for DNA testing and request

for Brady evidence (exculpatory evidence related to Mr. Hunter's fraudulent

identification), which is required to effectively prove Mr. Hunter's actual innocence

at the State and Federal level, including establish a presumptive basis for clemency.

The Defendants, including the Colorado Bureau of Investigations have intentionally

concealed evidence of Woods’ corrupt forensic testing practices and history of

framing individuals, which is sufficient evidence to invalidate the States

identification evidence and effectively undermines DNA evidence presented at

trial, and moreover triggers a need for testing of the rape kit (evidence that was




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never tested and that will definitively prove that Mr. Hunter is not the perpetrator of

this horrendous crime). [ECF # 39, ¶

      Importantly, a gateway claim is not foreclosed by a State Court ruling

denying DNA testing pursuant to Colorado's repealed statutory DNA statute,

premised on the notion that a Defendant's right to assert an actual innocence claim—

gateway claim, is a federal right that may invoked at the time his innocence becomes

apparent or at the time he seeks to overcome a procedural bar; otherwise, Colorado's

holding or statutory law is in conflict with Schlup v. Delo, 513 U.S. 298, 328-29

(1995) and McQuiggin v. Perkins, 569 U.S. 383, 387 (2013)'s gateway claim—

actual innocence; thus, rendering Colorado's statutory law or Colorado DNA

holdings that bar DNA testing in federal proceedings void for want of jurisdiction

under the Supremacy clause.

             1. Retesting of DNA evidence is needed to establish Mr. Hunter's
                 actual innocence—an exception to procedural bar.

      The retesting of DNA evidence is required to establish Mr. Hunter's gateway

claim under the miscarriage of justice exception, as set forth in Schlup and

McQuiggin.

      Methodologies have improved since 2001; in fact, since 2006, there is now

the ability to look for DNA at markers that could not have been searched in 2006.

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In 2006, DNA testing was generally for 15 markers for autosomal STR or 17

markers for Y-STR. Now kits test for 21 markers for STR testing, or 23 of Y-STR

testing. In fact, touch DNA testing was not available in 2002 and, although available

in 2006, most of the forensic laboratories were not conducting touch DNA testing

at the relevant time. As such, the sexual assault kit can be tested for seminal fluid in

case there is a very small quantity of sperm cells that might have been missed in the

earlier testing. And even if no seminal fluid or sperm cells were present, there could

be male DNA in the form of epithelial cells, or skin cells, which could now be

detected using "autosomal STR" or "Y-STR testing." In addition, it is now possible

to test the victim's pubic hair combings for presence of male DNA in the form of

epithelial cells, which was not possible at the outset when this crime occurred.


             2. DNA Testing was required to establish a basis for Clemency
      To establish the injustice requirement under Colorado's clemency process,

Mr. Hunter will require DNA testing to show that he was not the individual that

raped or harmed the innocent victim R.H.

             3. CBI's internal reports are Brady evidence that would establish
                 the invalidity of Mr. Hunter's identification.




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      CBI's internal investigation of the Yvonne Woods scandal has identified

widespread fraud that the Defendants are actively working to conceal. This evidence

invalidates the identification evidence used to frame Mr. Hunter and is required to

establish Plaintiffs gateway claim.

                         SUMMARY OF ARGUMENT

       The present matter presents a case of improper dismissal of a tenable Due

Process claim based on an erroneous finding of facts and improper use of Rooker-

Feldman doctrine to impede an actual innocence gateway claim—DNA testing and

disclosure of exculpatory evidence required to prove actual innocence, based on an

invalid Colorado State holding that was premised on a repealed statute.

     The denial of DNA or Brady v. Maryland, 373 U.S. 83 (1963) evidence at the

State level; and this extant judgment or holding does not foreclose the use of a

gateway claim or miscarriage of justice exception, let alone the procurement of

evidence to establish actual innocence through section 1983. Any State law or

holding that attempts to impede this actual innocence gateway claim, that is based

on Federal law, is void under the Supremacy Clause of the United States; therefore,

rendering the Rooker-Feldman doctrine inapplicable.




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                                   ARGUMENT

III. The Trial Court Erred As A Matter Of Law In Dismissing Plaintiffs
   Complaint Because The Factual Pleadings Sufficiently Alleged Facts From
   Which A Jury May Reasonable Infer That The Defendants Violated Mr.
   Hunter's Constitutional Rights Under The Eighth And Fourteenth
   Amendment.


      The Court of Appeals should find that a meritorious Fourteenth Amendment

claim was pled, establishing a tenable due process claim based on a justiciable

controversy—denial of a gateway claim (actual innocence) and denial of

exculpatory evidence, and reverse the judgment of the District Court and remand

for further proceedings on the merits.

      Preservation of Issues: The assignment of errors was preserved at the trial

court level. In the District Court's Order of dismissal, the Trial Court dismissed

Plaintiff Mr. Hunter's Complaint at the pleading stage in response to Defendant's

Motion to Dismiss. Hunter v. King, 2024 U.S. Dist. LEXIS 93881, * 1-16.

Therefore, Plaintiffs assignment of error and issues articulated herein are ripe for

review.

      Standards of Review: A Rule 12(b)(6) dismissal is reviewed de novo,

through the Rule 12(b)(6) analysis applied at the trial court level. See Sagome, Inc.

v. Cincinnati Ins. co., 56 F.4th 931, 934 (10th Cir. 2023).

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      Like Rule 12(b)(6) dismissals, "[This Court] also review[s] questions of

statutory interpretation de novo." Solar v. City of Farmington, 2 F.4th 1285, 1289

(10th Cir. 2021).

      The district court ruled that Mr. Hunter 's claims were jurisdictionally barred

by the Rooker-Feldman doctrine. On this issue, the Court of Appeals conducts a de

novo review. Erlandson v. Northglenn Mun. Ct., 528 F.3d 785, 788-89 (10th Cir.

2008).

         A. Summary Dismissal Jurisprudence

      "[A]ll well-pleaded factual allegations in the complaint are accepted as true

and viewed in the light most favorable to the nonmoving party." Herrera v. City of

Espanola, 32 F.4th 980, 991 (10th Cir. 2022) (quotation marks omitted). "A

complaint must contain 'enough facts to state a claim to relief that is plausible on its

face."' Santa Fe All. for Pub. Health & Safety v. City of Santa Fe, 993 F.3d 802, 811

(10th Cir. 2021) (quoting Bell Atl. com v. Twombly, 550 U.S. 544, 570, 127 S. Ct.

1955, 167 L. Ed. 2d 929 (2007)). "[D]ismissal under Rule is appropriate if the

complaint alone is legally insufficient to state a claim." Brokers' Choice of Am., Inc.

v. NBC Universal, Inc., 861 F.3d 1081, 1104-05 (10th Cir. 2017). Here, the district




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court granted dismissal of Mr. Hunter's claim for want of jurisdiction based on the

Rooker-Feldman doctrine.

      "The nature and specificity of the allegations required to state a plausible

claim will vary based on context." Kan. Penn Gaming, LLC v. Collins, 656 F.3d

1210, 1215 (10th Cir. 2011).

      B. Mr. Hunter States A Serious and Meritorious Due Process Claim.

      When State government and its officers actively work to keep a person

wrongfully imprisoned by obstructing his effort to establish his actual innocence

through Federal Habeas Corpus, a Plaintiff is entitled to 1983 relief to enjoin this

corrupt and unfair denial of the collateral attack of an unconstitutional judgment. A

de novo review of the factual pleadings reveals a plausible entitlement to relief

under the Fourteenth Amendment. For this reason, the Trial Court erred in

dismissing Mr. Hunter's Complaint.

      "No State shall . . . deprive any person of life, liberty, or property, without

due process of law." U.S. Const., Amend. 14, 1; accord, Amend. 5. This Clause

imposes procedural limitations on a state’s power to take away protected

entitlements. See, e.g., Jones v. Flowers, 547 U.S. 220, 226-239, 126 S. Ct. 1708,

164 L. Ed. 2d 415 (2006). Osborne argues that access to the State's evidence is a


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"process" needed to vindicate his right to prove himself innocent and get out of jail.

Process is not an end in itself, so a necessary premise of this argument is that he has

an entitlement—a "liberty interest" to prove his innocence even after a fair trial has

proved otherwise. The process entitled for the asserted liberty interest to be

determined is in question. see Board of Regents of State Colleges v. Roth, 408 U.S.

564, 570-571, 92 S. Ct. 2701, 33 L. Ed. 2d 548 (1972); Olim v. Wakinekona, 461

U.S. 238, 250-251, 103 S.Ct. 1741, 75 L. Ed. 2d 813 (1983).

       To establish a procedural due process violation, a Plaintiff must establish that:

(i) deprivation by state action of a protected interest in life, liberty, or property, and

(ii) inadequate state process. See Zinennon v. Burch, 494 U. S. 113, 125, 110 S. Ct.

975, 108 L. Ed. 2d 100 (1990).

       In Mr. Hunter's case, the Defendant's refusal to provide him with a

fundamentally fair collateral attack process was complete when the state litigation

ended and deprived him of his asserted liberty interest in DNA testing and actively

worked to conceal exculpatory evidence, which has naturally prevented him from

making a showing of actual innocence for purposes of establishing an exception to

Federal Habeas and State procedural bars—a gateway claim based on miscarriage

of justice.


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              1. Rooker-Feldman's Doctrine is obviously misplaced.
      The Trial Court erred in applying the Rooker-Feldman doctrine to an actual

innocence case that is clearly subject to attack at the Federal level via 28 U.S.C

2254, including a gate claim based on DNA that is actionable under section 1983.

      Because Rooker-Feldman arises from federal jurisdictional statutes, the

threshold question is whether the doctrine allows federal courts to entertain these

adversary proceedings at all. At its core, the Rooker-Feldman doctrine stands for

the unremarkable proposition that federal district courts are courts of original, not

appellate, jurisdiction. See 28 U.S.C. 1331, 1332. Thus, it follows that federal

district courts have "no authority to review the final determinations of a state court

in judicial proceedings." Worldwide Church of God v. McNair, 805 F.2d 888, 890

(9th Cir. 1986). Direct federal appellate review of state court decisions must occur,

if at all, in the Supreme Court. See 28 U.S.C. 1257.

      Rooker-Feldman is not a constitutional doctrine. Rather, the doctrine arises

out of a pair of negative inferences drawn from two statutes: 28 U.S.C. 1331 , which

establishes the district court's "original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States"; and 28 U.S.C. 1257, which

allows Supreme Court review of "final judgments or decrees rendered by the highest

court of a State in which a decision could be had. "
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       v. Fid. Trust Co. itself relied upon "the legislation of Congress," namely the

predecessors of these statutes in the Judicial Code. See Rooker, 263 U.S. at 416

(construing Judicial Code, 237, ch. 448, 2, 39 Stat. 726 (1916) (current version at

28 U.S.C. 1257 (1988)), and Judicial code, 24, ch. 231, 24, 36 Stat. 1091 (1911)

(current version at 28 U.S.C. 1331 (1980)); see also . at 476 (construing 28 U.S.C.

1257); cf. Asarco Inc. v. Kadish, 490 U.S. 605, 622, 104

L. Ed. 2d 696, 109 S. ct. 2037 (1989) ("The Rooker-Feldman doctrine                   28

U.S.C. 1257 as ordinarily barring direct review in the lower federal courts of a

decision reached by the highest state court . . . e"). Since Feldman, the Supreme

Court has declined opportunities to extend, or even apply, the doctrine.

      Of course, the statutes that form the basis of the Rooker-Feldman doctrine

coexist among other federal jurisdictional laws. To establish a intelligible theory of

federal jurisdiction, one must consider the entire federal jurisdictional constellation.

In this case, aside from the statutes of general jurisdiction, two other guiding

jurisdictional stars control this analysis: the federal law of habeas corpus and Civil

Rights Act, including relevant Supreme Court jurisprudence.

      It is generally true that a judgment by a court of competent jurisdiction bears

a presumption of regularity and is not thereafter subject to collateral attack. But

Congress, because its power over the subject of civil rights is plenary, may by

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specific habeas corpus and civil rights legislation create an exception to that

principle and render judicial acts taken with respect to the person whom Federal law

protects nullities and vulnerable collaterally.

      That doctrine prohibits federal courts from adjudicating cases brought by

state-court losing parties challenging state-court judgments. But as this Court

explained in Skinner v. Switzer, even though a "state-court decision is not

reviewable by lower federal courts," a "statute or rule governing the decision may

be challenged in a federal action." 562 U. S. 521, 532, 131 S. Ct. 1289, 179 L. Ed.

2d 233 (2011).

      Here, as in Skinner, Mr. Hunter does "not challenge the adverse" state-court

decisions themselves, but rather "targets as unconstitutional the Colorado statute

they authoritatively construed." Ibid. In addition, Mr. Hunter sought to enjoin the

Defendants intentional concealment of exculpatory evidence and compel disclosure

of evidence of the invalidity of identification evidence—a new issue recently

discovered, which has effectively prevented Mr. Hunter from establishing his actual

innocence for purposes of Federal Habeas Corpus review under 28 U.S.C. 2254,

and exhausting State remedies related to the recent discovery of CBI's fraudulent

identification.


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      Mr. Hunter alleges that the evidence used to convict him is suspect because

the Colorado Bureau of Investigation recently found that one of the forensic

scientists working on his case had manipulated data in the DNA testing process,



Plaintiff also emphasized that DNA testing has advanced significantly since the time

of his conviction, and that it is now far more reliable than it used to be, casting doubt

on the DNA results that were used to convict him some twenty-plus years ago. (ECF



the poor science at the time of the initial prosecution. A proper test could, now,

identify epithelial cells in the vaginal cavity of the actual perpetrator, and sperm

cells that previously could not be identified.

      The factual pleadings "were replete with allegations regarding the sufficiency

of the evidence that was used to convict [Mr. Hunter] at trial", making a proper

showing of actual innocence; and more identified new issues based on the recent

CBI scandal supporting innocence that are now justiciable, particularly that he "was



18, 19, 34, 49, 63.)




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      The Trial Court took "no stance here on the merit of Plaintiffs claims about

the reliability of the evidence that was used to support his underlying conviction,"

The Court simply held in error that the gist of the complaint is to suggest that the

Colorado Court of Appeals made an incorrect determination when it found that a

favorable DNA test result would not have been enough to make a showing of actual

innocence, which ignores that actual innocence is no longer a statutory requirement.

Besides, Mr. Hunter successful showing of innocence would naturally debunk the

Court of Appeal holding and is required to establish a basis for Habeas Corpus and

clemency relief. The impugning of evidence used against Mr. Hunter at trial is

required to establish an exception to the procedural bars at the Federal and State

level irrespective of Plaintiff’s intent and should not be impeded by the

misapplication of the Rooker-Feldman doctrine.

      These facts, combined with Plaintiffs request for injunctive relief make a

proper showing for a new analysis or DNA testing, that is far superior to the

fraudulent and invalid testing conducted at the state level by CBI Woods. Invoking

actual innocence as a gateway claim does not equate with relitigation of an issue

decided in state court; therefore, the Trial Court’s bar from assuming jurisdiction




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under the Rooker-Feldman doctrine was clearly erroneous and contrary to

controlling authority Hunter v. King, 2024 U.S. Dist. LEXIS 93881 *10-11

                    a. State Court of Appeal’s Judgment has no preclusive effect
                        because it was invalidated by Colorado's Amendment to
                        its DNA statute.

      Colorado's DNA statute pre 2023 is clearly unconstitutional, as evidenced by

its repeal and recent allocation of a second chance to test DNA evidence in Mr.

Hunter's case and lowering of the standard for requesting DNA. The simple notion

that the DNA statute was repealed, granting a second chance for testing, supports

1983 relief in this case; especially as here where State officials actively work to

stonewall Mr. Hunter's ability to establish good cause for retesting. Drexler v. Spahn,

No. 21-1368, 2022 U.S. App. LEXIS 33002, 2022 WL 17333076, at *4 (10th Cir.

Nov. 30, 2022) (court had improperly invoked the Rooker-Feldman doctrine with

respect to the plaintiffs claim that a state statute was unconstitutional)

       The Trial Court's relied on the Colorado Court of Appeal's holding in People

v. Hunter, 2019 Colo. App. LEXIS 637 (Colo. Ct. App., Apr. 25, 2019)

(Unpublished) in error. In its opinion denying Plaintiffs petition under 18-1-411 to

417, C.R.S. 2021, the Colorado Court of Appeals relied on a repealed version of

C.R.S. 18-1-411 to -417, which emphasized that Plaintiff failed to adequately allege,

as required by the statute, that favorable results of DNA testing would demonstrate

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his actual innocence. This is no longer the standard and clearly bad law, and its

application here is a due process violation.

      For instance, a Defendant is, now, required to show a reasonable probability

that the Petitioner would not have been convicted if favorable results had been

obtained through DNA testing at the time of the original prosecution.

A showing of actual innocence is no longer required. C.R.S. 18-1-411 to -413. The

specific verbiage "A court shall not order DNA testing unless the petitioner

demonstrates by a preponderance of the evidence that... favorable results of the

DNA testing will demonstrate the petitioner's actual innocence," has been repealed.


      Moreover, a second petition is now permitted upon a proper showing of

ineffective assistance of counsel or other factors showing good cause. As such, the

complete overhaul of the Colorado DNA statute has effectively rendered the extant

judgment of the Colorado Court of Appeal null and void, and now should allow for

retesting in Mr. Hunter's case, but most certainly would not foreclose a gate way—

actual innocence claim.

      However, the conspiratory and pervasive fraudulent concealment of evidence

at the state level requires federal intervention to protect this process; hence, the

Plaintiffs civil rights action. Irrespective, no valid judgment at the State level exists

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to trigger Rooker-Feldman Doctrine. Therefore, the Trial Court's application of this

jurisdictional bar was plain error.

             b. Colorado's statutory clemency laws establish a liberty
                interest in seeking in commutation based on actual
                innocence.

      The Trial Court erred in rejecting Mr. Hunter's Due Process claim based on

the inadequate clemency discovery process, which is required to establish actual

innocence or the injustice exception for purpose of clemency or a waiver of criteria

for clemency. Hunter v. King, 2024 U.S. Dist. LEXIS 93881, * 15-16

      In the State of Colorado, noncapital defendants have a state created liberty

interest in review for executive clemency. The power to pardon is vested in the

governor through Colorado's constitution. COLO. CONST. art. IV, 7. The power is

regulated by COLO. REV. STAT. 16-17-101 to -102 (2010), and thus

establishes a state created liberty interest in seeking commutation that is enforceable

through the Fourteenth Amendment. Connecticut Bd. of Pardons v. Dumschat, 452

U.S. 458, 464, 101 S. Ct. 2460, 69 L. Ed. 2d 158 (1981). Mr. Hunter, therefore, may

challenge the constitutionality of any procedures available to vindicate an interest

in state clemency, and the Trial Court’s refusal to address the constitutionality of

this clemency statute under § 1983 was error.


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             c. Recent Brady violations are unresolved.
      The Trial Court erred in refusing to address Mr. Hunter's Brady claim and

Due Process claim based on the CBI’s Defendant’s concealment of exculpatory

evidence. Hunter v. King, 2024 U.S. Dist. LEXIS 93881, * 15-16 Recognizing that

Mr. Hunter has a liberty interest in exculpatory evidence related to a false

identification based on a forensic scientist's fraudulent lab practices, this Court of

Appeals should conclude that the State had an obligation to comply with the

principles of Brady v. Maryland, 373 U.S. 83 (1963) and properly disclose its

evidence of a false identification of Mr. Hunter and his actual innocence.

Indubitably, due process requires a prosecutor to disclose material exculpatory

evidence to the defendant before trial and in postconviction proceedings when fraud

upon the court involves the State's star forensic expert – Defendant Woods.

      Even assuming arguendo that a criminal defendant that is found guilty after

a fair trial lacks the same liberty interests as a free man; if the extant judgment is

the product of fraud, this Brady right to exculpatory evidence should continue into

the postconviction phase; thus § 1983 was a viable mechanism here. Obviously at

trial, the defendant is presumed innocent and may demand that the government

prove its case beyond a reasonable doubt. But "[o]nce a defendant has been afforded


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a fair trial and convicted of the offense for which he was charged, the presumption

of innocence disappears." Herrera, 506 U.S. 390, 399 (1993). But in this case, there

was no fair process, in that, the Prosecution and law enforcement presented a false

identification. "Given a[n] [in]valid conviction, the criminal defendant has been

[un]constitutionally deprived of his liberty." Dumschat, 452 U.S. 458, 464 (1981)

      Mr. Hunter's right to due process is thus parallel to a trial right, and therefore

must be analyzed in light of the fact he was found guilty based on fraud—an unfair

trial, and by extension t retains full interest in post-conviction relief. Brady's

framework should, therefore, continue here, and § 1983 is a viable means of forcing

the Defendants to produce this exculpatory evidence.

      Even then, Colorado State's procedures for postconviction relief "offends []

principle[s] of justice so rooted in the traditions and conscience of our people as to

be ranked as fundamental," and "transgresses [] recognized principle of fundamental

fairness in operation." Medina v. California, 505 U.S. 437, 446 (1992) (internal

quotation marks omitted); see Herrera, supra, at 407-408 (applying Medina to

postconviction relief for actual innocence); Pennsylvania v. Finley, 481 U.S. 551,

556 (1987) (postconviction relief procedures are constitutional if they "compor[t]

with fundamental fairness"). Federal courts may upset a State's postconviction relief


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procedures only if they are fundamentally inadequate to vindicate the substantive

rights provided. CBI's as a corollary to this rule, systemic fraud an this widespread

concealment of exculpatory evidence - denial of fair process, as well as habit of

framing citizens presents the quintessential in which Colorado’s postconviction

procedures should be subject to section 1983 relief and protection of citizens from

corrupt state process.

      The procedures set forth in Colorado Rules of Criminal Procedure have

allowed the State's key forensic scientistic expert to frame numerous citizens and

conceal her misconduct and provides no legal requirement that the CBI turnover its

internal audit reports that prove that Mr. Hunter's identification is invalid, and that

Defendant Yvonne M. Woods framed him. The Criminal Rules of Procedure fail to

impose a continuing discovery obligation in the face of fraud-upon-the-Court and a

complete denial of fair trial and provide no specific mechanism for retesting of DNA

evidence and compulsion of exculpatory evidence from private citizens that have

been fired for misconduct; therefore, begging the discovery tools and injunctive

authority applicable to section 1983


      Colorado provides no substantive mechanism to compel evidence of actual

innocence from the CBI and other parties that actively refuse to provide access to

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exculpatory evidence. Therefore, section 1983 is a critical tool to correct the

underlying miscarriage of justice.

                    d. Actual innocence exception under 28 U.S.C. 2254 is
                       unaffected by a State Court judgment.

      It is well-settled that the Rooker-Feldman doctrine does not touch the writ of

habeas corpus. see Plyier v. Moore, 129 F.3d 728, 732 (4th Cir. 1997); Ritter v. Ross,

992 F.2d 750, 753 (7th Cir. 1993); Blake v. Papadakos, 953 F.2d 68, 71 n.2 (3d Cir.

1992). Indeed, federal habeas-corpus law turns Rooker-Feldman on its head. Rather

than leaving state court judgments undisturbed, it provides expressly for federal

collateral review of final state court judgments, see, e.g., 28 U.S.C. 2254, and

requires exhaustion of state remedies as a precondition for federal relief, see 28

U.S.C. 2254(b)(l)(A). As we shall discuss when examining the merits of this appeal,

through the statutory writ of habeas corpus Congress has created a comprehensive

system of federal collateral review of state court criminal judgments. Thus, habeas

corpus is not an "exception" to Rooker-Feldman, but a procedure with roots in

statutory jurisdiction parallel to - and in no way precluded by - the doctrine.

      So, too, it is with civil actions for deprivation of rights under 42 U.S.C 1983,

in apparent contradiction to the Rooker-Feldman theory, Civil Rights actions under




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 1983 are empowered to avoid state judgments. Thus, final judgments in state

courts are not necessarily preclusive in United States District courts.

        Relevant case law "severely limits the federal action a state prisoner may

bring for DNA testing." Skinner v. Switzer, 562 U. S. 521, 525, 131 S. Ct. 1289,

179 L. Ed. 2d 233 (2011). The Court has "rejected the extension of substantive due

process to this area and left slim room for the prisoner to show that the governing

state law denies him procedural due process." Ibid. (citation omitted); see District

Attorney's Office for Third Judicial Dist. v. Osborne, 557 U. S. 52, 69, 72, 129 S.

Ct. 2308, 174 L. Ed. 2d 38 (2009). Irrespective, section 1983 is a tenable mode of

establishing actual innocence through DNA where a state and its officials seek to

obstruct a gateway claim.

                            i. Colorado's holding and statutory law conflicts with
                                Schlup v. Delo, 513 U.S. 298, 328-29 (1995) and
                                McQuiggin v. Perkins, 569 U.S. 383, 387 (2013)'s
                                gateway claim.

        To the extent the Court of Appeal’s is good law and a basis for denial of DNA

testing, Colorado law and DNA statute conflict with federal law; and therefore, is

void.

        It is well established that, under the supremacy clause, federal law preempts

conflicting state law, nullifying it to the extent that it conflicts with the federal law.

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U.S. Const., art. VI. Thayer v. McDonald, 781 P.2d 190, 190-91 (1989) (Defendants

failed to assert the doctrine of federal preemption at the trial court level; however,

the defense of lack of subject matter jurisdiction may be asserted at any time,

including during an appeal.)

      Congress' power to preempt state and local law derives from the Supremacy

Clause of the United States Constitution, which provides "the Laws of the United

States . . . shall be the supreme Law of the Land . . . any thing in the Constitution or

Laws of any State to the Contrary notwithstanding." Art. VI, cl. 2. Preemption may

occur in three situations: (l) express preemption, which occurs when the language

of the federal statute reveals an express congressional intent to preempt state law

(plaintiffs concede express preemption is not at issue here); (2) field preemption,

which occurs when the federal scheme of regulation is so pervasive that Congress

must have intended to leave no room for a State to supplement it; and (3) conflict

preemption, which occurs either when compliance with both the federal and state

laws is a physical impossibility, or when the state law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress. see

Barnett Bank of Marion County v. Nelson, 517 U.S. 25, 31, 134 L. Ed. 2d 237, 116




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S. ct. 1103 (1996); United States v. City & County of Denver, 100 F.3d 1509, 1512

(10th Cir. 1996). Conflict preemption controls, here.

            Although the supremacy clause "is not a source of any federal right," it

'"secures' federal rights by according to them priority whenever they come in

conflict with state law. " Golden State Transit Corp v. City of Los Angeles, 493 U.S.

103, 107, 110 S.Ct. 444, 449, 107 L.Ed.2d 420, 428 (1989).

      The purpose of the preemption doctrine is to establish a priority between

potentially conflicting laws enacted by various levels of government. Board of

County Commissioners v. Bowen/Edwards Associates, Inc., 830 P.2d 1045 (Colo.

1992). The underlying rationale of that doctrine is that the supremacy clause

invalidates state laws that "interfere with, or are contrary to, the laws of Congress."

Brubaker v. Board of County Commissioners, 652 P.2d 1050, 1054 (Colo. 1982).

See People v. Deitchman, 695 P.2d 1146 (Colo. 1985) (supremacy clause prohibits

states from enacting legislation contrary to or inconsistent with the federal law).

      Under Schlup v. Delo, 513 U.S. 298, 328-29 (1995) and McQuiggins v.

Perkins, 569 U.S. 383, 387 (2013) a petitioner who has committed a procedural

default may be excused from the default and obtain federal review of his

constitutional claims only by showing "cause" and "prejudice," by "demonstrat[ing]


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  that failure to consider the claims will result in a fundamental miscarriage of

justice". Actual innocence is a gateway claim to this procedural default and may be

established through DNA testing. As the Court has explained, "the principles of

comity and finality that inform the concepts of cause and prejudice 'must yield to

the imperative of correcting a fundamentally unjust incarceration.' " Murray v.

Carrier, 477 U.S. at 496 (quoting Engle v. Isaac, 456 U.S. at 135). Accord House v.

Bell, 547 U.S. 518, 536 (2006) ("general rule" that "claims forfeited under state law

may support federal habeas relief only if the prisoner demonstrates cause for the

default and prejudice from the asserted error . . . is not . . . unqualified"; underlying

" 'principles of comity and finality' " must " 'yield to the imperative of correcting a

fundamentally unjust incarceration' " so as to allow federal courts " to 'balance the

societal interests in finality, comity, and conservation of scarce judicial resources

with the individual interest in justice that arises in the extraordinary case' "). And,

here, Colorado’s laws are obstructing this actual innocence process by impeding

section 1983 DNA testing.

      In Murray v. Carrier, 477 U.S. 478 (1986), the Supreme Court recognized a

narrow exception to the cause requirement where a constitutional violation has

'probably resulted' in the conviction of one who is 'actually innocent' of the

substantive offense. Id., at 496; accord, Schlup v. Delo, 513 U.S. 298, 1 15 S. Ct.



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851, 130 L. Ed.2d 808 (1995). This actual innocence exception is the focus of this

litigation, not the State Court's void holding based on a repealed statute.

      The denial of section 1983 DNA testing to establish actual innocence under

Schlup v. Delo, 513 U.S. 298, 328-29 (1995) and McQuiggins v. Perkins, 569 U.S.

383, 387 (2013)'s gateway exception based on a Colorado Court of Appeals holding

and/or a repealed Colorado DNA statute clearly violates the Supremacy Clause of

the United States Constitution. U.S. Const. art. 6, cl. 2 (supremacy clause) Being

such, the State Court holding is void for want of jurisdiction. Besides, the notion

that Mr. Hunter sought to use a statutory mechanism to procure access to DNA

evidence to collaterally attack his conviction has no legal or lawful effect on his

decision to demand DNA testing and production of exculpatory evidence to prove

his innocence as an actual innocence gateway claim or exception to a procedural

bar. And any position or holding that it does would render these state holdings or

law a nullity under federal preemption.

                    e. Bad faith prosecution exception is actionable under 1983.

      Recognizing that a 1983 comes within the "expressly authorized" exception

of the anti-injunction statute, and that Congress's creation of a specific and unique

federal right or remedy, enforceable in a federal court of equity, that could be


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frustrated if the federal court were not empowered to enjoin a state court proceeding,

supports a need for federal intervention and the stay of a state court proceedings.

See Toucey, supra, at 132-134; Kline v. Burke Construction Co., 260 U.S. 226;

Providence & N. Y S. S. co. v. Hill Mfg. co., 109 U.S. 578, 599; Treinies v.

Sunshine Mining co., 308 U.S. 66, 78; Kalb v. Feuerstein, 308 U.S. 433; Bowles v.

Willingham, 321 U.S. 503. For this reason, it is difficult to understand how, the Trial

Court could find that the Defendant’s conduct failed to support a basis for 42 U.S.C.

1983 relief.


      Section 1983 was originally § 1 of the Civil Rights Act of 1871. 17 Stat. 13.

It was "modeled" on § 2 of the Civil Rights Act of 1866, 14 Stat. 27, and was ratified

for the specific purpose of "enforc[ing] the Provisions of the Founeenth

Amendment." 17 Stat. 13. The predecessor of S 1983 was thus an important part of

the basic alteration in our federal system wrought in the Reconstruction era through

federal legislation and constitutional amendment. As a result of the new structure of

law that emerged in the post-Civil War era - and especially of the Fourteenth

Amendment, which was its centerpiece the role of the Federal Government as a

guarantor of basic federal rights against state power was clearly established. Monroe

v. Pape, 365 U.s. 167; McNeese v. Board of Education, 373 U.S. 668; Shelley v.

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Kraemer, 334 U.S. 1; Zwickler v. Koota, 389 U.S. 241, 245-249; H. Flack, The

Adoption of the Fourteenth Amendment (1908); J. Tenbroek, The Anti-Slavery

Origins of the Fourteenth Amendment (1951). Section 1983 opened the federal

courts to private citizens, including Mr. Hunter, offering a uniquely federal remedy

against incursions under the claimed authority of state law upon rights secured by

the Constitution and laws of the Nation.

      It is clear from the legislative debates surrounding passage of 1983's

predecessor that the Act was intended to enforce the provisions of the Fourteenth

Amendment "against State action, . . .whether that action be executive, legislative,

or judicial." Ex parte Virginia, 100 U.S. 339, 346 (emphasis supplied). Proponents

of the legislation noted that state courts were being used to harass and injure

individuals, just like Mr. Hunter, either because the state courts were powerless to

stop deprivations or were in league with those who were bent upon abrogation of

federally protected rights.

      Senator Osborn's statement ring loudly here: "If the State courts had proven

themselves competent to suppress the local disorders, or to maintain law and order,

we should not have been called upon to legislate . . . . We are driven by existing

facts to provide for the several states in the South what they have been unable to


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fully provide for themselves: i. e., the full and complete administration of justice in

the courts. And the courts with reference to which we legislate must be the United

States courts." Id., at 653.

      Representative Perry's position espoused a similar position:

             "Sheriffs, having eyes to see, see not; judges, having ears
             to hear, hear not; witnesses conceal the truth or falsify it;
             grand and petit juries act as if they might be accomplices.
                 All the apparatus and machinery of civil government,
             all the processes of justice, skulk away as if government
             and justice were crimes and feared detection. Among the
             most dangerous things an injured party can do is to appeal
             to justice. "


Id., at App. 78, and is particularly relevant here. Mr. Hunter is innocent, but

everyone is covering their eyes.


      This legislative history makes evident that Congress clearly conceived that it

was altering the relationship between the States and the Nation with respect to the

protection of federally created rights; it was concerned that state instrumentalities

could not protect those rights; it realized that state officers might, in fact, be

antipathetic to the vindication of those rights; and it believed that these failings

extended to the state courts. This dynamic has not changed, and § 1983 is required,




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here, to show actual innocence for purpose of state and Federal Habeas Corpus

review.

                                 CONCLUSION

      The Trial Court's Order of dismissal was both error of law and an erroneous

finding of facts; therefore, the Tenth Circuit Court of Appeals should rescind the

extant judgment and remand for further proceedings on the merits.

                  CERTIFICATE OF DIGITAL SUBMISSION

      I hereby certify that: I have not redacted any documents; and this document

is submitted in Digital PDF, has been scanned for viruses with McAfee Security,

and is free of viruses.

                          CERTIFICATION OF EXACT COPIES

      I hereby certify that: the attached copies submitted to the Court are exact

copies of the electronically submitted version.

Respectfully submitted this 9th day of September 2024.

s/ Kenneth Mark Burton
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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing action was filed with the
Clerk of Court on September 9, 2024, and that a true and correct copy was
electronically sent to the interested parties via PACER's electronic court filing
system.

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/s Kenneth Mark Burton




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
    Civil Action No. 23-cv-02989-DDD-MEH

    JAMES HUNTER,

         Plaintiff,
   v.

   ALEXIS KING District Attorney for the 1 st Judicial District, in her official
        capacity.

   CHRIS SCHAFFER, Director of the Colorado Bureau of Investigation, in his
        official capacity,

   REGGIE MARINELLI, Sheriff of the Jefferson County Sheriff's Department, in his official
        capacity,

   CHIEF SMITH, Chief of Police for the Lakewood Police Department, in his official
        capacity; and

   YVONNE M. WOODS Officer, laboratory technician of the Colorado Bureau of Investigation, in
       her individual capacity.

         Defendants.



                            AMENDED COMPLAINT
    _______________________________________________________________________


                                           INTRODUCTION

   1.    The cause of action in this case is the denial of due process, and the request for the fair

   administration of justice through proper access to evidence and testing that could substantiate the

   actual and factual innocence of the Plaintiff. Mr. James Hunter, the Plaintiff, is a 64-year-old
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   gentleman that has maintained his innocence for over 21 years. The dynamics of this case meet

   the precise circumstances in which the State of Colorado should yield in the interest of justice

   and allow Mr. Hunter to have access to DNA and print identification evidence to substantiate his

   actual and factual innocence.


   2.    The record is patently clear that Mr. Hunter was prosecuted and tried based on fabricated

   and false evidence. This action is based on the complete denial of access to evidence that is

   currently in the Defendants' control that will substantiate Mr. Hunters actual innocence.

   Specifically, there are approximately 21 different pieces of evidence, including a rape kit, that are

   in the custody and control of the Defendants, and these items have not been tested. None of these

   items were subjected to advanced scientific testing that was not available 20 years ago but is

   available today. There is biological evidence that has never been analyzed that exists and each of

   the noted pieces of evidence will prove Mr. Hunter's innocence. As such, Mr. Hunter has a due

   process right to access and test this evidence.


   3.    An immediate threat exists that the Defendants will destroy or alter the subject evidence due

   to the recent identification of an alternative suspect, who was recently convicted of a similar crime

   with the same modus operandi used in Mr. Hunter's case. The identification of finger/palm prints

   that would have also proven Mr. Hunter's innocence has recently disappeared and then reappeared

   from evidence storage without legal authority or proper accounting of the chain of custody. This

   threat of destruction of evidence is, upon belief, obviously designed to stonewall any current

   collateral attack and conceal potential liability for the wrongful conviction of an innocent man.

   Therefore, the Federal Court should, in the interest of justice, issue an immediate preservation

   order and, thereafter, issue an order directing the Defendants (herein) to produce all evidence for



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   DNA and print identification testing to allow Mr. Hunter to confirm and substantiate his actual

   innocence and show an exception to any procedural restriction premised on Mr. Hunter’s claim

   that any procedural claim by the Defendants amounts to a miscarriage of justice exception.


                                               PARTIES


   4.    At all times pertinent to the complaint the Plaintiff James Hunter was a citizen of the United

   States and resident of the State of Colorado, and currently resides at: 275 Hwy 50, Canon City,

   CO. 81215.

   5.    Defendant Alexis King is a United States citizen and resident of the State of Colorado. At

   all times relevant to this action, the Defendant King was acting under the color of law in her

   capacity as the District Attorney of the Jefferson County District Attorney's Officer, and currently

   conducts business at: 500 Jefferson County Parkway, Golden, CO. 80401. Defendant King is the

   administrative head and official policy maker of the Jefferson County District Attorney's Office

   and has authority to issue preservation orders with respect to all constitutionally material evidence

   currently in the custody of all law enforcement agencies in the jurisdiction of Jefferson County.

   Upon belief, Defendant King is aware of Mr. Hunter's actual and factual innocence but has

   conspired with local law enforcement to prevent the testing of all biological evidence that could

   substantiate Mr. Hunter's actual innocence with the intent and understanding to prevent a collateral

   attack; thereby, depriving him of due process guaranteed under the Fourteenth Amendment.

   Defendant King is being sued in her official capacity.


   6.    Defendant Chris Schaffer is a United States citizen and resident of the State of Colorado. At

   all times relevant to this action, Defendant Schaffer was acting under the color of law in his




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   capacity as the Director of the Colorado Bureau of Investigation ("CBI"), and currently conducts

   business at: 6000 54th Ave., Arvada, CO. 81002. Defendant Schaffer is the administrative head and

   official policy maker of CBI and currently has authority to issue a preservation order with respect

   to all constitutionally material evidence currently in its custody and order the production of this

   evidence for independent DNA testing by the Defendant's legal team. Upon belief, Defendant

   Schaffer is aware of Mr. Hunter's actual and factual innocence but has conspired with local law

   enforcement to prevent the testing of all biological evidence that could substantiate Mr. Hunter's

   actual innocence with the intent and understanding to prevent a collateral attack; thereby, depriving

   him of due process guaranteed under the Fourteenth Amendment. The CBI and its agents are

   currently concealing evidence and information regarding Woods’ history of abusive forensic

   practices related to Mr. Hunter and hundreds of other convictions. This evidence is highly

   exculpatory and could very well substantiate due process claims under the Brady v. Maryland, 373

   U.S. 83 (1963) however, Schaeffer and his staff refuse to disclose this material evidence.

   Defendant Schaffer is being sued in his official capacity.


   7.    Defendant Reggie Marinelli is a United States citizen and resident of the State of Colorado.

   At all times relevant to this action, the Defendant Marinelli was acting under the color of law in

   his capacity as the Sheriff of the Jefferson County Sheriff's Department, and currently conducts

   business at: 200 Jefferson County Parkway, Golden, CO. 80401. Defendant Marinelli is the

   administrative head and official policymaker for the Jefferson County Sheriff's Department, and

   currently has authority to issue a preservation order with respect to all constitutionally material

   evidence currently in its custody and order the production of this evidence for independent DNA

   testing by the Mr. Hunters legal team. Upon belief, Defendant Marinelli is aware of Mr. Hunter's




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   actual and factual innocence but has conspired with local law enforcement to prevent the testing

   of all biological evidence that could substantiate Mr. Hunter's actual innocence with the intent and

   understanding to prevent a collateral attack; thereby, depriving him of due process guaranteed

   under the Fourteenth Amendment. Defendant Marinelli is being sued in his official capacity.


   8.    Defendant Chief Smith is a United States citizen and resident of the State of Colorado. At

   all times relevant to this action, the Defendant Smith was acting under the color of law in his

   capacity as the Chief of Police of the Lakewood Police Department, and currently conducts

   business at: 480 S. Allison Parkway, Lakewood, Colorado 80226. Defendant Smith is the

   administrative head and official policymaker for the Lakewood Police Department, and currently

   has authority to issue a preservation order with respect to all constitutionally material evidence

   currently in its custody and order the production of this evidence for independent DNA testing by

   the Mr. Hunters legal team. Upon belief, Defendant Smith is aware of Mr. Hunter's actual and

   factual innocence but has conspired with local law enforcement to prevent the testing of all

   biological evidence that could substantiate Mr. Hunter's actual innocence with the intent and

   understanding to prevent a collateral attack; thereby, depriving him of due process guaranteed

   under the Fourteenth Amendment. Defendant Smith is being sued in his official capacity.


   9.    Defendant Yvonne M. Woods is a United States citizen and resident of the State of Colorado.

   At all times relevant to this action, the Defendant Woods was acting under the color of law in her

   capacity as an officer of CBI, and conducted business at: 6000 54th Ave., Arvada, CO. 81002.

   Defendant Woods was employed as a Colorado Bureau of Investigation (CBI) technician working

   for the state of Colorado. Upon information, Ms. Woods was the lead technician directing the




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   analytical test on hairs and other DNA sources that were used to convict Mr. Hunter and may have

   custody and control of material evidence that may be tested for DNA. Woods is currently privy to

   her systemic and abusive forensic practices and is currently concealing details of her fabrication

   of evidence against Mr. Hunter. This fraudulent concealment includes, but is not limited to,

   concealment of prior misconduct in hundreds of other cases involving forensic testing and

   collection of evidence that could support potential Brady claims under the 5th and 14th

   Amendments. As such, Ms. Woods is a material witness that has highly exculpatory information

   in her possession and control that would be relevant to Mr. Hunter’s actual and factual innocence.

   Therefore, Mr. Hunter has a due process right to discover and compel information from Ms. Woods.

   Upon belief, Defendant Woods is aware of Mr. Hunter's actual and factual innocence but has

   conspired with local law enforcement to prevent the testing of all biological evidence that could

   substantiate Mr. Hunter's actual innocence with the intent and understanding to prevent a collateral

   attack; thereby, depriving him of due process guaranteed under the Fourteenth Amendment.

   Defendant Woods is being sued in her official capacity.



                                           JURISDICTION

   10.    This action arises under the Constitution of the United States and Title 42 U.S.C. 1983.

   Jurisdiction is conferred upon the Court pursuant to 28 U.S.C. 1331, 28 U.S.C. 2201. Plaintiffs

   claim for injunctive and declaratory relief is authorized under 28 U.S.C. 2283, 2284 and

   Fed.R.Civ.P. 57 and 65.

   11.    Venue is proper in this Court pursuant to 28 U.S.C. 1391(b), as all the events giving rise to

   this action occurred in the State of Colorado.




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                                      FACTUAL BACKGROUND

              Mr. Hunter's Conviction in Jefferson County, Case Number 02CR354

   12.    The Prosecution arrested and charged Mr. Hunter with second-degree burglary, and sexual

   assault. Mr. Hunter was convicted of second-degree burglary, and the sexual assault. charge The

   Prosecution's theory of case was that Mr. Hunter unlawfully entered the premises of RH, his

   neighbor, while wearing a mask, and sexually assaulted her and her daughter.

   13.    It is alleged that on April 23, 2002, the victim R.H. was in her trailer at: 5555 West 16th

   Avenue in Lakewood, Colorado, when around 1:00 a.m. she saw a figure standing in her hall. R.H.

   thought he had pulled a tube sock over his face, but still could not identify the perpetrator.

   14.    A struggle ensued between the perpetrator and R.H. Initially, R.H. thought the perpetrator's

   voice sounded like her neighbor (Hunter), but later recanted this statement, stating that she did not

   think it was him. The suspect robbed R.H. of money and sexually assaulted her repeatedly, leaving

   an immense volume of DNA evidence on the victims clothing and other items in the residence.

   Unfortunately, this skin cell DNA could not be tested at the time due to undeveloped science in

   2002. However, there were several hairs collected from the crime scene. During the early part of

   the investigation an expert witness for the prosecution mistakenly asserted that one of the

   discovered hairs tied Mr. Hunter to the crime.

   15.    Mr. Hunter was arrested and charged with the underlying crimes. However, this criminal

   action was dismissed at a preliminary hearing due to the absence of evidence linking the Plaintiff

   to the crime scene. The dismissal was required since the evidence used to establish probable cause

   proved to be inaccurate, which effectively left the prosecution with no evidence supporting the

   charges.




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   16.    This false evidence (hairs) was microscopically examined by CBI. Defendant Yvonne

   Woods and while cooperating with DA Jensen and Det. Jameson. Woods initially made a

   microscopic comparison of the hairs and stated that this evidence was a match. The statement by

   Woods that the hair was "microscopically consistent" was a mischaracterized claim about the hair

   evidence. [Trans., 01/15/2004, p. 102]. In fact, the "match" referred to by the Woods was from a

   preliminary test, which the chemist admitted was not a match for DNA and led to the false positive.

   Recognizing this error, Woods confessed to the court this was a "blow to her ego."

   17.    This evidence of a match was initially used to establish probable cause for an arrest warrant,

   but the court later dismissed the case after recognizing that the microscopic match was false, and

   for the lack of any other evidence that established probable cause. When the hair evidence was

   submitted for a more exact examination it was discovered that the hairs belonged to the victim

   R.H.

   18.    Ten months after the crime, allegedly new evidence of a hair surfaced. There is no

   verification or record of collection of this hair from the crime scene by the Crime Scene

   Investigation Unit. The evidence labeling and packaging was not created by the responding CSI

   officers of Lakewood Police Department. Technicians from CBI could not confirm the evidentiary

   source of the hairs, suggesting that this evidence had to have been manufactured from an alternative

   source. Moreover, the subject hair evidence was discovered and logged into evidence ten months

   after the crime scene investigation, and the only person identified as the creator of the hair pack

   was Detective Jameson. It is most unusual in the investigative and evidence gathering process that

   a lead detective intervenes between the CSI and the CBI. The intervention is even more

   questionable when neither the CBI or the CSI can explain the background or source of the hair

   identification process. There is no verification that the evidence pack holding this hair was created

   by the CSI and there is no evidence that CBI collected this hair evidence from the location of the


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   crime scene. The lack of source verification and lack of crime scene origination further suggested

   fabrication.

   19.    In addition, there is no lawful explanation as to how this hair evidence came into existence.

   This hair evidence was taken from another hair pack that was in the custody and control of CBI,

   and used to create a separate hair evidence pack by Detective Jameson that would be identified as

   collected from the crime scene. DNA testing revealed that this single hair belonged to Mr. Hunter

   and was falsely characterized as collected from the sheet found on the victim's couch. The evidence

   logs reveal that Detective Jameson and Wilson removed this hair evidence from the hair evidence

   collected directly from Mr. Hunter during the initial investigation, which afforded the Defendants

   access to hair evidence and the opportunity to fabricate probable cause. This gross injustice was

   ignored by the Jefferson County District Court and although not the subject of this litigation and

   is only offered to establish the serious threat of further destruction and fabrication of evidence

   required to prove Mr. Hunter’s innocence. Currently, Mr. Hunter requires testing of DNA evidence

   collected by the Defendants (herein) to prove his actual and factual innocence.

   20.    Plaintiff would like to alert the Court to a recent announcement by the Colorado Bureau of

   Investigation that one of their top forensic scientists has been suspended and is under investigation

   for "anomalies" in DNA testing over the past 29 years. Yvonne Woods is the name of the scientist

   that is under investigation. This was the lead scientist in Plaintiff’s criminal case and the request

   in this Complaint for further DNA testing will directly impact opinions and conclusions put forth

   by Ms. Woods. This scientist is also the same individual that made a false conclusion that hairs

   examined under a microscope in this case were the Plaintiffs. After a more technical examination

   all four hairs belonged to the victim and none belonged to the Defendant.




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  21.   On December 12, 2002, a grand jury convened, and Mr. Hunter was ultimately indicted

  based on the same crimes. This indictment occurred seven days after Det. Wilson and Detective

  Jameson conspired to fabricate hair evidence and presented this false evidence to a grand jury.

  Plaintiff Hunter has consistently maintained his actual and factual innocence. According to a lab

  report which was the relevant exhibits to the petition, on 12-5-02 Det. Jameson separated a hair,

  sample item # 17-12. Then put the hair in a new packet and had Det. Wilson return the hair. This

  evidence was used to indict Mr. Hunter at the Grand Jury. From the prosecutions own evidence, it

  can be shown that the questionably created hair pact was fabricated and manufactured from the

  previous sample Mr. Hunter voluntarily provided. See attached Exhibit signed by agent S.

  Mamolejo 5665.

  22.   On July 2, 2002, the packet was booked by CSI into the care, custody, and control of the

  evidence custodian for the City of Lakewood Colorado Police Department. On December 5, 2002,

  hair packet 2 was received and there is no one that can confirm the exact date when hair packet 2

  was received. There is no evidence that hair packet 2 was created by CSI at the time of collection

  and logging of evidence gathered by CSI from the crime scene. On December 12, 2002, the report

  implicating the Plaintiff as the perpetrator of the criminal event was created by lab technician

  Bernardi. This evidence was latter the piece of evidence, that Yvonne Woods examined and tested,

  that led to Plaintiffs conviction.

  23.   Det. Wilson handled the hair/fiber packet without logging out the evidence on 12-12-02 to

  use for the grand jury indictment. The hair packet was returned by Wilson, and it was noted by lab

  tech Bernardi that there were now two hair/fiber packets, and the new evidence wasn't marked.

  Because of the fabrication of new evidence, evidence item 17-12 should have been suppressed.




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  24.   Mr. Hunter’s defense was that he was not the perpetrator. Had the handling of the hair packet

  evidence been known at the time of trial the defense would have been expanded to include claims

  that any DNA evidence was unreliable due to it being fabricated and planted by Jameson/Wilson.

  The issue surrounding this hair pack 2 should have disposed of the case in the same manner as the

  case was dismissed after the initial bogus hair examination was realized.

  25.   There was a further claim that CBI developed a DNA mixture that according to the

  technology used by CBI contained a DNA mixture of the victim and Mr. Hunter. Mr. Hunter has

  pursued motions in state court to obtain DNA re-testing of the mixture DNA evidence allegedly

  collected from the crime scene. The motions for re-testing were made under C.R.S. 18-1-413. Mr.

  Hunter’s post-conviction motion was to have the DNA tested with short tandem repeat of the Y

  chromosome (Y-STR). There have been substantive advancements in DNA mixture testing and

  what 20 years ago seemed unreliable has proven with new technology to be reliable.

  26.   Plaintiff has asserted in the referenced motions that the advanced DNA testing would likely

  exonerate him, but retesting was denied. Plaintiff has always maintained his innocence; that he did

  not commit this crime.

  27.   During the investigation, substantive quality prints were lifted from the point of forced entry

  into the victim's residence. These prints did not match Mr. Hunters prints. The lifted entry way

  prints were determined by CSI persons to likely be the suspect prints who committed the crime.

  After repeated requests to have the prints run through the Automated Fingerprint Identification

  System (AFIS), CBI has not made any comparison through AFIS since April of 2002 all the way

  to now September of 2023, with no action being taken.




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  28.   There were random prints found inside the residence. None of the prints matched Mr. Hunter

  or the victim. No comparison was made between the random prints and the prints lifted from the

  point of entry.

  29.   Defendant Jensen represented in filings in the State Court that he put the prints though AFIS.

  This has proven to be a false statement to the court by an officer of the court. It has been discovered

  by the parties assisting Mr. Hunter that there is no report of any AFIS database search. This print

  is likely the actual suspect of this crime. Mr. Hunter has further given the Jefferson County District

  Attorney's office the name of parties that could be the source of the prints. One of the parties was

  present in Colorado on the night of the crime charged against Mr. Hunter. This individual is

  currently serving a sexual assault sentence in the State of Missouri for a sex crime committed after

  the crime charged against Mr. Hunter. The crime in Missouri has aspects of the crime that are very

  similar and unique to the crime committed in Mr. Hunter’s case. There are two other male parities

  that met the general description provided by the victim and were present in the immediate area at

  the time and on the date of the crime and the authorities refuse to run print comparison.

  30.   Hunter's former Attorneys from the Innocence Project, Jud Lohnes and Jeanne Segil, have

  tried to work with Jefferson County District Attorney, Alexis King, from the Conviction Integrity

  Unit, to have this evidence tested. These requests have not been fulfilled.

  31.   As stated above Mr. Hunters post-conviction motion was to have the DNA tested with short

  tandem repeat of the Y chromosome (Y-STR) and the finger/palm print run through AFIS. Plaintiff

  understands that the DNA retest concerns technology that was not known at the time of his

  conviction and this request relates to new technology. Processing the prints against prints of

  suggested parties with known prints on file and doing an AFIS search 20 years ago was not asking

  the State to explore new technology. Prints have served as the basis of crime scene investigations

  long before the CSI conducted the gathering of evidence in this case. Falsely stating that an AFIS



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  search had been requested and then when learning of the false request and continuing to refuse to

  run the test only compounds and extends the wrongful deprivation and violation of the Mr. Hunter’s

  Constitutional rights without logical reason for not taking corrective actions and run the print

  requests.

  32.   Mr. Hunters complaint is the state courts are denying him procedural due process, and the

  Colorado post-conviction DNA statute is unconstitutional as construed by the Colorado courts.

  33.   Det. Richard Tewes destroyed all his written notes from the crime scene after being told to

  do so by Det. Jameson. [TR. 1-14-04 p 140-141].

  34.   Mr. Hunter’s allegations are Prosecutor Jenson and Detectives, Jameson, Tewes, and Wilson,

  either knowing, negligently or in conspiracy with one another fabricated, falsified, and

  manufactured this DNA evidence. The evidence was used in the criminal case against him, and the

  use of the evidence deprived Hunter of a fair trial. Without the fabricated evidence the sentence

  would be invalidated or called into doubt. Running the prints and identifying an alternate suspect

  would have resulted in charges being dismissed.

  35.   Mr. Hunter further states that refusal or denial to run the prints as requested would amount

  to verification and corroboration that the State provocateurs violated multiple State and Federal

  Constitutional rights guaranteed to the Plaintiff.



   Mr. Hunter Has Made Good Faith Efforts to Gain Access to The Subject Evidence,
      But the Defendants Continue to Stonewall Access and DNA Testing Which Has
        and Continues to Deprive Him of a Liberty Interest in Fairly Collaterally
       Attacking His Conviction Based on the Unconstitutionality of the Judgment.

  36.   Plaintiff has timely exhausted all available judicial remedies prior to filing this complaint

  but continues to attempt to collaterally attack his conviction based on his factual and actual




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  innocence. Unfortunately, the Defendants continue to deprive him of fair access to constitutionally

  mandated production of material evidence that if tested could prove his innocence.

  37.      More specifically, Mr. Hunter filed a Colorado Criminal Rule of Criminal Procedure Rule

  35(c) petition, which was denied by the Trial Court in Jefferson County District Court. This denial

  of post-conviction relief was appealed to the Colorado Court of Appeals, and subsequently an Order

  was issued affirming the judgment. A Writ of Certiorari was then filed with the Colorado Supreme

  Court.

  38.      In the underlying post-conviction action, on March 18, 2020, Mr. Hunter raised his actual

  innocence claim and requested complete and advanced DNA testing of any evidence in the custody

  and control of the State of Colorado. This request was unfortunately denied by the Trial Court on

  March 26, 2020.

  39.      On March 24, 2022, a writ of certiorari was filed with the Colorado Supreme Court. On May

  23, 2022, the court denied the writ in case No. 22SC220.

   The Statute of Limitations and Justifiability of the Underlying Action Favor Review.

  40.      Hunter filed this complaint within two years of the court's denial of Certiorari in case no.

  22SC220. See Reed v. Goertz, 143 S. Ct. 955 (April 19, 2023) (Petitioner's 1983 claim, which raised

  a procedural due process challenge to post-conviction DNA testing law, was timely because the

  statute of limitations began to run when the Texas Court of Criminal Appeals denied petitioner' s

  motion for rehearing.)

  41.      Thus, this complaint is timely made under the rational of Reed v. Goertz, Id. at 962 ("When

  a prisoner pursues state post-conviction DNA testing through the state-provided litigation process,




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  the statute of limitations for a 42 U.S.C.S. 1983 procedural due process claim begins to run when

  the state litigation ends.").

  42.    Moreover, a controversy exists with respect to the constitutionality of the Defendant’s denial

  of fair access to constitutional material evidence needed to substantiate Mr. Hunter's actual and

  factual innocence and establish an exception to any procedural bar based on his actual and factual

  innocence—miscarriage of justice exception.

                               FIRST CLAIM FOR RELIEF
                        AND SUPPORTING FACTUAL ALLEGATIONS
                 42 U.S.C. 1983—Denial of Due Process—14th Amendment Violation
           (Denial of Access Constitutionally Material Evidence for DNA Testing)

  43.    Plaintiff hereby incorporates by reference, for all purposes herein, paragraphs 1 through 45,

  as if fully set forth herein.

  44.    Defendants were acting under the color of state law in their actions and inactions during all

  relevant times to this action.

  45.    A post-conviction claim for DNA and finger/palm print testing is properly pursued in a 42

  U.S.C. 1983 action. The success of this claim gains Mr. Hunter only access to untested biological

  evidence for DNA testing, which may prove exculpatory, inculpatory, or inconclusive. In no event

  will a judgment that simply orders DNA tests, here, necessarily imply the unlawfulness of the

  State's custody. Skinner v. Switzer, 562 U. S. 521, 525, 131 S. ct. 1289, 179 L. Ed. 2d 233 (2011).

  As such, the Heck rule has no applicability here. See Heck v. Humphrey, 512 U.S. 477, 114 S. Ct.

  2364, 129L. Ed. 2d 383 (1994).


  46.    A procedural due process claim consists of two elements: (i) deprivation by state action of a

  protected interest in life, liberty, or property, and (ii) inadequate state process. Reed v. Goertz, 143

  S. Ct. 955, 961 (April 19, 2023).


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                Deprivation of Protected Liberty Interest in DNA Testing Untested
                   Biological Evidence That Will Prove Mr. Hunter's Innocence.


  47.       Mr. Hunter has a liberty interest in utilizing state procedures to obtain reversal of his

  conviction and/or to obtain a pardon or reduction of sentence in clemency proceedings with the

  Governor of Colorado under the Fourteenth Amendment to the constitution of the United States.

  48.   The access to biological evidence and testing of this evidence was never properly afforded

  to Mr. Hunter due to the conspirator and abusive conduct of the Defendants, and Defense Counsel

  ineffectiveness. Moreover, the development of DNA science from the outset of this litigation was

  undeveloped and therefore unavailable to Mr. Hunter. Therefore, any lack of testing of the subject’s

  biological evidence is not due to lack of diligence on Mr. Hunter's part.


                  Inadequate State Process for Testing Evidence for DNA Through No
                                         Fault of Mr. Hunter.

  49.   The State of Colorado is currently using a false narrative and circumventing statutory law

  to procedurally bar Mr. Hunter from DNA testing untested biological evidence that will prove his

  factual and actual innocence. This circumvention of Colorado law has effectively deprived Mr.

  Hunter access to the very evidence needed to prove his factual and actual innocence. Moreover,

  this sadistic and malicious conduct is upon belief pretextual, and designed to fabricate a basis to

  destroy and conceal constitutionally material evidence that is very likely to prove Mr. Hunter’s

  innocence; thus, presenting an imminent threat of a constitutional violation. Therefore, the

  Defendants and the State of Colorado's refusal to release the listed biological evidence for testing

  has deprived Mr. Hunter of his liberty interests in utilizing state procedures to obtain reversal of




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  his conviction and/or to obtain a pardon or reduction of sentence in clemency proceedings with the

  Governor of Colorado.

  50.    DNA known as Y-STR will yield a genetic profile identifying an alternative suspect Kenny

  Smith if subjected to testing, but thus far the Defendants have denied access to this biological

  evidence with the intent and understanding prevent a fair use of legal process and mechanisms to

  collaterally attack his conviction. Noting, this malicious prosecution and the conspirator conduct

  is not the subject of this litigation and is only offered to identify the motive and serious threat of

  destruction of evidence that necessitates a temporary restraining order preserving evidence.

  51.    Evidence collected in this case is in the possession of the Defendant and their respective

  agencies, and has been since Hunter's trial. The evidence was not tested for Y-STR (Skin Cell)

  DNA at that time, which could have eliminated the Plaintiff as a contributor, therefore proving his

  innocence in this case. This biological evidence includes, but is not limited to:


     •   Rape Kit (Containing seminal fluids and other skin cell DNA from Kenny Smith the actual
         perpetrator).
     •   Ketchup Bottle (Used to sexually assault victim RH, which has skin cell DNA From Kenny
         Smith the actual perpetrator).
     •   Bodily hairs collected at the crime scene (Containing DNA from Kenny Smith the actual
         perpetrator).
     •   Rug (Containing DNA from Kenny Smith the actual perpetrator).
     •   Sheet (Containing DNA from Kenny Smith the actual perpetrator).
     •   Blankets (Containing DNA from Kenny Smith the actual perpetrator).
     •   Victim RH's pants and panties (Containing DNA from Kenny Smith the actual perpetrator).
     •   Victims RH's jacket (Containing DNA from Kenny Smith the actual perpetrator)

  52.    The above identified biological evidence will link the alternative suspect to the subject

  sexual assault of the victim R.H. and exonerate Mr. Hunter of any wrongdoing; thus, substantiating

  Mr. Hunter's actual and factual innocence, which he has continuously maintained despite the




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  Defendants and State of Colorado's continuous efforts to stonewall the collateral attack of this.

  conviction, which is out of step with substantial compliance with due process of law under the

  Fourteenth Amendment.


  53.   As required by C.R.S. 18-1-413, the evidence collected in this case can be subjected to a

  newer method of DNA (Skin cell) testing (Y-STR) that provides a reasonable likelihood of results.

  that are more accurate and probative than the results of previous DNA testing, and will prove Mr.

  Hunter's innocence based on skin cell evidence left on numerous items collected by the

  Defendants and other law enforcement that will match the DNA profile of Kenny Smith the actual

  perpetrator of this crime. Noting, Mr. Smith's DNA profile is currently in the Federal Combined

  DNA Index system (CODIS).

  54.   Hunter meets all the requirements for DNA testing as required by C.R.S. 18-1-413; however,

 Mr. Hunter was denied due process at the state level based on a false narrative and circumvention

 of statutory law. In fact, Mr. Hunter respectfully asserts that the current mechanism for DNA testing

 under C.R.S. 18-1-413 allows an innocent citizen to be denied access to DNA evidence when a

 judicial official uses a false narrative to substantiate a deficiency in the pleadings, despite a duty to

 liberally construe the pleadings of a pro se litigant. It is unconstitutional to deny Mr. Hunter access

 to untested biological evidence for DNA testing when he states that he is innocent and that this

 biological evidence will identify the alternative suspect.

 55.    The definitive identity of the perpetrator was, and remains an issue in this case, but is very

 likely that Kenny Smith will be identified as the alternative suspect due to his pattern of sex crime,

 opportunity, and tacit confession to this crime to a private investigator.




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 56.     The subject of DNA testing identifying Mr. Kenny Smith as the alternative suspect will

 prove Mr. Hunter's actual and factual innocence and undermine the existing judgment. Being such,

 good cause exists for the Federal Court to intervene and estop the Defendants from denying Mr.

 Hunter fair access to the subject biological evidence, which is likely to afford Mr. Hunter a fair

 review by the Governor of Jared Polis and an additional review of the unconstitutionality of this

 conviction based on the miscarriage of justice exception.

 57.     In addition, Hunter's finger and palm prints were not matched to the suspected print found

 at the crime scene. These prints were supposedly sent to AFIS, but the results have never been

 provided to Hunter or his attorneys, which begs the question: why? It is likely because this evidence

 will show that when the prints impressed at the time the crime was perpetrated and that it was not

 Hunter. This evidence, thus, will likely prove to be exculpatory.

 58.     Hunter asserts the State either suppressed the AFIS report evidence and identity of the AFIS

 result or they have falsified statements to the Court. Nevertheless, the Defendants are currently

 denying Mr. Hunter access to this evidence for proper analysis, which is currently denying him due

 process to the fair collateral attack of his conviction.

 59.     Prints are frequently left at scenes of crimes and are reliable. The prosecution should disclose

 to the defense such information as it has that may reasonably be considered admissible and useful

 to the defense in the sense that it is probably material and exculpatory.


 60.     Experts have testified that: "AFIS system is designed to search for people who have fingers

 that closely match the prints found at a crime scene." People v. Austin, 35 Cal.App.5th 778 (Cal. Ct.

 App. 2019). Thus, access to the subject print evidence is material and likely to change the results of




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 the underlying conviction if an analysis proves to link an alternative suspect to the crime scene,

 namely Mr. Kenny Smith.


   Woods and defendants' concealment of constitutional evidence effectively stonewalls
                                 collateral attack.


 61.    Currently, the state of Colorado is outraged with respect to Woods' abusive forensic testing

 practices, including her purported fabrications of identification evidence in the subject Hunter case.

 Woods has been fired and is no longer an agent of the Colorado Bureau of Investigation: However,

 Woods has personal knowledge with respect to the evidence in the Hunter criminal case and the

 testing practice used by her to identify to identify him as the alleged perpetrator. This conditionally

 material evidence is critical to the collateral attack of Mr. Hunter criminal conviction and is required

 to establish the injustice requirement under applicable clemency laws in Colorado, which provided

 no discovery mechanisms for collecting or compelling this exculpatory evidence.


 62.    In addition, the conditionally material evidence in this equitable action is required to

 effectively collateral attack the extent criminal judgment in case number 2002 RC 354 (Jefferson

 County). Defendants Woods, Schaffer, King, Marinelli, and Smith are effetely concealing

 information regarding the invalidly of the identification evidence presented by the state agents Mr.

 Hunter with knowledge that this evidence could potentially establish a viable basis for reversal of

 the extant judgment. These conspiratorial efforts to stonewall ligation have directly violated Mr.

 Hunter’s due process right to fairly, and effectively, collaterally attack his wrongful judgment.


 63.    The current denial of constitutionally material evidence includes but is not limited to: (1)

 Wood’s intentional concealment of details concerning each of the cases that she fabricated evidence



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 to establish the identity of the alleged perpetrator. From 2000 to 2024, and details concerning Kings,

 Schaffer, Smith, and Marinelli’s involvement in the numerous due process violation including the

 concealment of these corrupt practices in the Hunter criminal case: (2) evidence of King’s

 intentional effort to coverup Woods’, and other officers’, fabrications of evidence in the underlying

 criminal matter relater to Mr. Hunter’s identification as the alleged perpetrator, and conspiracy to

 stonewall litigation. Given the dynamics of the underlying criminal matter this civil rights action is

 currently the only viable means of procuring reliable evidence of the subject due process violations:

 in particular, the very evidence required to establish and exception to the success to petition doctrine

 and collateral attack statue is currently being concealed by the defendants. The discovery in this

 matter will produce the evidence required to pursue the successful collateral attack at the state court

 level. In absence of a fair opportunity to open the doors of discovery related to the obvious due

 process violations, the plaintiff is currently unable to effectively enforce his constitutional right to

 collaterally attack his wrongful conviction.


                                 A.      PRAYER FOR RELIEF

 64.    WHEREEFORE, Plaintiff respectfully prays that this Court enter an order:

                A. Issuing declaratory relief, declaring that the acts and omissions of defendants are

                    in violation of Plaintiffs Due Process rights to prove his innocence and/or fairly

                    establish a basis for post-conviction relief, and declaring the defendant's duties

                    with respect to those rights.




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                B. Issuing injunctive relief, commanding the defendants provide Plaintiff access to

                    the print evidence, print results and all biological evidence in their custody and

                    control for the proper testing of DNA testing.

                C. Any other relief this Court deems just and proper.


        Respectfully submitted,

        Dated this 9th day of February 2024


        s/Kenneth Mark Burton
        ______________________
        Kenneth Mark Burton
        ATTORNEYAT LAW
        The Law Offices of Mark Burton,
        1173 Osage Street, Suite 210
        Denver CO, 80204
        Phone 303.517-1187
        Fax 303.379-3922
        Email: burtonslaw2000@yahoo.com


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of February 2024 I served a true and correct
 copy of the foregoing: AMENDED COMPLAINT with the Clerk of the Court by
 CM/ECF system and to all attorneys of record.


 /s Kenneth Mark Burton




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Daniel D. Domenico

         Civil Action No. 1:23-cv-02989-DDD-MEH

         JAMES HUNTER,

                 Plaintiff,

         v.

         ALEXIS KING, District Attorney for the 1st Judicial District, in her of-
         ficial capacity;
         CHRIS SCHAFFER, Director of the Colorado Bureau of Investigation,
         in his official capacity;
         CHIEF SMITH, Chief of Police for the Lakewood Police Department, in
         his individual capacity;
         YVONNE M. WOODS Officer, laboratory technician of the Colorado
         Bureau of Investigation, in her individual capacity;

                 Defendants.


                                          ORDER


              In this case, Plaintiff alleges that Defendants violated his due pro-
         cess rights by colluding to prevent him from conducting DNA testing on
         certain evidence that was used to convict him over twenty years ago.
         (Doc. No. 39.) Though Colorado state courts already denied his petitions
         under the state’s postconviction DNA statute, he now seeks an order in
         federal court requiring Defendants to allow him to conduct the same
         DNA testing he already sought in state court and a declaration that the
         named Defendants violated his constitutional rights. (Id. at ¶ 64.) Be-
         cause Plaintiff’s suit essentially amounts to appeal of issues he already
         litigated in state court, however, it must be dismissed.



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                                      BACKGROUND

            Plaintiff filed his first complaint in this case on November 13, 2023.
         (Doc. No. 1.) In it, he brought a single cause of action under 42 U.S.C. §
         1983, alleging that his due process rights under the 14 th Amendment
         were violated when the Colorado Court of Appeals denied his postcon-
         viction petition seeking access to evidence for additional DNA testing.
         (Id. at ¶ 46.) Plaintiff sought both declaratory relief finding that the acts
         of Defendants violated his due process rights and injunctive relief re-
         quiring Defendants to provide him access to certain evidence for DNA
         testing. (Id. at ¶ 64.) On January 19, 2024, Defendants Alexis King and
         Reggie Marinelli filed a motion to dismiss Plaintiff’s complaint. (Doc.
         No. 27.) On January 23, 2024, Defendants Alex Jameson and Richard
         Tewes also filed a motion to dismiss. (Doc. No. 28). Both of these motions
         were denied as moot in light of the amended complaint Plaintiff filed on
         February 9, 2024. (Doc. Nos. 39; 40.) In his amended complaint, Plaintiff
         did not change the cause of action or the relief he was seeking. (Doc. No.
         39.) He did, however, drop a number of defendants from the suit and add
         allegations regarding the constitutionality of Colorado’s postconviction
         DNA statute. (Id. at 32.) The remaining Defendants each subsequently
         moved to dismiss the amended complaint, and these motions are before
         me now. (Doc. Nos. 41; 43; 47; 72.)

                                   APPLICABLE LAW

            Federal courts are courts of limited jurisdiction. Under Article III of
         the United States Constitution, federal courts only have jurisdiction to
         hear certain “cases” and “controversies,” Susan B. Anthony List v.
         Driehaus, 573 U.S. 149, 157 (2014), rendering them “duty bound to ex-
         amine facts and law in every lawsuit before them to ensure that they
         possess subject matter jurisdiction.” The Wilderness Soc. v. Kane Cty.,


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         632 F.3d 1162, 1179 n.3 (10th Cir. 2011) (Gorsuch, J., concurring). In-
         deed, courts have an independent obligation to determine whether sub-
         ject matter jurisdiction exists, even in the absence of a challenge from
         any party. 1mage Software, Inc. v. Reynolds & Reynolds, Co., 459 F.3d
         1044, 1048 (10th Cir. 2006) (citing Arbaugh v. Y & H Corp., 546 U.S. 500
         (2006)).

              Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, a
         party may bring either a facial or factual attack on subject matter juris-
         diction, and a court must dismiss a complaint if it lacks subject matter
         jurisdiction. See Pueblo of Jemez v. United States, 790 F.3d 1143, 1147
         n.4 (10th Cir. 2015). For a facial attack, the court takes the allegations
         in the Complaint as true; for a factual attack the court may not presume
         the truthfulness of the Complaint’s factual allegations and may consider
         affidavits or other documents to resolve jurisdictional facts. Rural Water
         Dist. No. 2 v. City of Glenpool, 698 F.3d 1270, 1272 n.1 (10th Cir. 2012)
         (citing Holt v. United States, 46 F.3d 1000, 1002–03 (10th Cir. 1995)).
         The burden of establishing jurisdiction always rests with the party as-
         serting jurisdiction—here, Plaintiff. See Kline v. Biles, 861 F.3d 1177,
         1180 (10th Cir. 2017).

                                       DISCUSSION

         I.   The Rooker-Feldman Doctrine

              The court begins, as it must, by determining whether it has subject
         matter jurisdiction. See Colorado Outfitters Ass’n v. Hickenlooper, 823
         F.3d 537, 542, 544 n.5, 555 (10th Cir. 2016) (remanding case to district
         court to dismiss for lack of jurisdiction where district court proceeded to
         assess the merits of a case based on “some generous assumptions” about
         jurisdiction, and emphasizing that a ruling based on incorrect assump-
         tions about jurisdiction “is no ruling at all”). See also Rivers v. Colorado,

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         No. 22-cv-2922-WJM-STV, 2023 WL 5310145, at *4 (D. Colo. Aug. 17,
         2023), appeal pending (overruling objection to magistrate judge’s sua
         sponte recommending dismissal based on Rooker-Feldman doctrine). As
         follows, the court finds that it lacks subject matter jurisdiction over
         Plaintiff’s claims under the Rooker-Feldman doctrine.

            “The Rooker-Feldman doctrine is derived from 28 U.S.C. § 1257(a),
         [which] provides that only the Supreme Court has jurisdiction to hear
         appeals from final state-court judgments,” Suasnavas v. Stover, 196 F.
         App’x 647, 652 n.3 (10th Cir. 2006) (internal quotation omitted), and
         gets its name from two Supreme Court decisions: Rooker v. Fidelity
         Trust Co., 263 U.S. 413 (1923), and District of Columbia Court of Ap-
         peals v. Feldman, 460 U.S. 462 (1983). “The Rooker-Feldman doctrine
         establishes, as a matter of subject-matter jurisdiction, that only the
         United States Supreme Court has appellate authority to review a state-
         court decision.” Merrill Lynch Bus. Fin. Servs., Inc. v. Nudell, 363 F.3d
         1072, 1074-75 (10th Cir. 2004) (footnote omitted).

            The doctrine “precludes a losing party in state-court who complains
         of injury caused by the state-court judgment from bringing a case seek-
         ing review and rejection of that judgment in federal court.” Miller v.
         Deutsche Bank Nat’l Trust Co., 666 F.3d 1255, 1261 (10th Cir. 2012).
         The doctrine is “confined to cases of the kind from which the doctrine
         acquired its name: cases brought by state-court losers complaining of
         injuries caused by state-court judgments rendered before the district
         court proceedings commenced and inviting district court review and re-
         jection of those judgments.” Exxon Mobil Corp. v. Saudi Basic Indus.
         Corp., 544 U.S. 280, 284 (2005).

            “‘The type of judicial action barred by Rooker-Feldman [] consists of
         a review of the proceedings already conducted by the ‘lower’ tribunal to


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         determine whether it reached its result in accordance with law.’” PJ ex
         rel Jensen v. Wagner, 603 F.3d 1182, 1193 (10th Cir. 2010) (quoting Bol-
         den v. City of Topeka, 441 F.3d 1129, 1143 (10th Cir. 2006)). “Rooker-
         Feldman does not bar federal-court claims that would be identical even
         had there been no state-court judgment; that is, claims that do not rest
         on any allegation concerning the state-court proceedings or judgment.”
         Id. (quoting Bolden, 441 F.3d at 1145). The doctrine applies where the
         relief sought requires the federal court to review and reject the state
         court judgment. See id. (citing Mann v. Boatright, 477 F.3d 1140, 1147
         (10th Cir. 2007)); cf. Mo’s Express, LLC v. Sopkin, 441 F.3d 1229, 1238
         (10th Cir. 2006) (declining to apply Rooker-Feldman where the federal
         suit would not undo the state-court judgment).

            The Rooker-Feldman doctrine bars not only claims seeking direct re-
         view of state court judgments, but also bars claims “inextricably inter-
         twined with” an underlying state court judgment. Feldman, 460 U.S. at
         482 n.16, 486; Mothershed v. Okla. ex rel. Okla. Bar Ass’n, 390 F. App’x
         779, 780 (10th Cir. 2010). A federal claim is “inextricably intertwined”
         with a state court judgment when a plaintiff “can only succeed if [the
         federal court] conclude[s] the state got it wrong and effectively reverse[s]
         its decision or void[s] its ruling.” Ziankovich v. Members of Colo. Su-
         preme Court, No. 20-1314, 2021 WL 4047000, at *4 (10th Cir. Aug. 10,
         2021) (unpublished) (citing Tal v. Hogan, 453 F.3d 1244, 1256 (10th Cir.
         2006), and Campbell v. City of Spencer, 682 F.3d 1278, 1283 (10th Cir.
         2012) (explaining that “[t]he essential point [of the inextricably inter-
         twined test is that] barred claims are those complaining of injuries
         caused by state-court judgments,” meaning that “an element of the claim
         must be that the state-court wrongfully entered its judgment”) (cleaned
         up). “A claim is inextricably intertwined if the state-court judgment
         caused, actually and proximately, the injury for which the federal-court


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         plaintiff seeks redress.” Tal, 453 F.3d at 1256 (internal quotations omit-
         ted). The doctrine applies “after the state proceedings ended.” Exxon Mo-
         bil, 544 U.S. at 291. “[I]f a lower state court issues a judgment and the
         losing party allows the time for appeal to expire, then the state proceed-
         ings have ended.” Bear v. Patton, 451 F.3d 639, 642 (10th Cir. 2006) (in-
         ternal quotation marks omitted). This is true whether or not other pro-
         cedures remain pending in the case. Id. (“Although the state proceedings
         have not ‘ended’ in a general sense because the accounting and distribu-
         tion of the proceeds of the sheriff’s sale remain, a final judgment on
         Count II that was no longer appealable would have invoked Rooker–
         Feldman’s jurisdictional bar”). See also Wideman v. Colorado, No. 06-cv-
         001423-WDM-CBS, 2007 WL 757639, at *2 (D. Colo. Mar. 8, 2007) (cit-
         ing Bear, Rooker-Feldman doctrine applied despite state-court retaining
         jurisdiction over paternity and child custody cases until the child would
         become an adult). See also Green v. Cnty. Ct. of City and Cnty. of Denver,
         No. 10-cv-02876- BNB, 2011 WL 290645, at *2 (D. Colo. Jan. 26, 2011)
         (noting the plaintiff’s appeal from state court judgment had been dis-
         missed and holding that claims challenging plaintiff’s treatment during
         proceedings in Denver County Court were barred by Rooker-Feldman:
         plaintiff’s “claims for damages are inextricably intertwined with the
         state court judgment because in order for [plaintiff] to prevail in this
         action the Court would be required to review and reject the state-court
         judgment”).

               II. Plaintiff’s Claims are Jurisdictionally Barred

            Evaluating Plaintiff’s § 1983 claims pursuant to these standards, it
         is clear that Plaintiff’s federal suit is fundamentally premised on the
         notion that his state court judgement under the Colorado post-convic-
         tion DNA statute was erroneous. This suit and Plaintiff’s previous state
         court judgment are therefore inextricably intertwined.

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            In its opinion denying Plaintiff’s petition under 18-1-411 to -417,
         C.R.S. 2021, the Colorado Court of Appeals emphasized that Plaintiff
         failed to adequately allege, as required by the statute, that favorable
         results of DNA testing would demonstrate his actual innocence. (Doc.
         No. 73 at 4.) In reaching this conclusion, the court emphasized that pros-
         ecutors had introduced evidence at trial indicating that two pubic hairs
         found at the crime scene were matches for his DNA profile. Even if
         Plaintiff could prove, as he now argues, that one of these samples re-
         sulted in a false positive due to contamination that occurred during a
         break in the chain of custody, “that still wouldn’t negate the other sam-
         ple from the scene that also matched his DNA profile.” (Id. at 11.) Addi-
         tionally, even if Plaintiff’s petition for further DNA testing yielded fa-
         vorable results, the Court of Appeals reasoned that this would not “ne-
         gate the other evidence that supported the jury’s verdict – including, in
         particular, evidence that he was in the vicinity of the crime scene at the
         time of the crimes, that his body size and features matched those of the
         perpetrator, that he was wearing clothes that fit the description of those
         worn by the perpetrator, and that the adult victim recognized his voice.”
         (Id.)

            Plaintiff’s amended complaint reads primarily as a direct challenge
         to these findings made by the Colorado Court of Appeals. Indeed, it is
         replete with allegations that additional testing would be sufficient to
         prove his “actual and factual innocence.” (Doc. No. 39 at ¶¶ 1, 2, 3, 5, 6,
         7, 8, 9, 19, 36, 38, 42, 49, 52, 56.) It is also replete with allegations re-
         garding the sufficiency of the evidence that was used to convict him at
         trial. Plaintiff repeatedly alleges, for example, that he “was prosecuted
         and tried based on fabricated and false evidence.” (Doc. No. 39 at ¶¶ 2,
         18, 19, 34, 49, 63.) He also alleges that the evidence used to convict him
         is suspect because the Colorado Bureau of Investigation recently found


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         that one of the forensic scientists working on his case had manipulated
         data in the DNA testing process, calling into question the integrity of all
         of her work. (Id. at ¶¶ 20, 61.) Plaintiff also emphasizes that DNA test-
         ing has advanced significantly since the time of his conviction and that
         it is now far more reliable than it used to be, casting doubt on the DNA
         results that were used to convict him some twenty-plus years ago. (Id.
         at ¶¶ 25, 31.)

            While I take no stance here on the merit of Plaintiff’s claims about
         the reliability of the evidence that was used to support his underlying
         conviction, I do note that the entire gist of the complaint is to suggest
         that the Colorado Court of Appeals made an incorrect determination
         when it found that a favorable DNA test result would not have been
         enough to make a showing of actual innocence. By impugning the other
         evidence used against him at trial, Plaintiff clearly intends to establish
         the inference that a favorable DNA test result would show he is an in-
         nocent man. These facts, combined with Plaintiff’s request for injunctive
         relief requiring the Defendants to conduct the same DNA testing he
         sought in his state court suit, suggest to me that Plaintiff essentially
         wants to relitigate an issue that was already decided in state court, and
         that I am therefore barred from assuming jurisdiction under the Rooker-
         Feldman doctrine.

            Though Plaintiff summarily notes in a single paragraph of his 64-
         paragraph Complaint that “the Colorado post-conviction DNA statute is
         unconstitutional as construed by the Colorado courts”, this threadbare
         assertion of a Constitutional cause of action is insufficient to overcome




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         a motion to dismiss.1 (Id. at ¶ 32.) While it is true that a complaint need
         not be “a model of the careful drafter’s art” or “pin plaintiff’s claim for
         relief to a precise legal theory”, it is also well-established that conclusory
         allegations are insufficient at this stage of litigation. Skinner, 562 U.S.
         at 530 (2011); see generally Aschroft v. Iqbal, 556 U.S. 662 (2009).

              Plaintiff’s recitation of this conclusory statement is not enough to
         overcome the obvious fact that the Plaintiff asks this court to revisit a
         state court judgment. Indeed, Plaintiff’s elaboration on this statement
         belies the fact that he is actually challenging the judicial application of
         the DNA statute, not its facial constitutionality. Specifically, Plaintiff
         argues that “the current mechanism for DNA testing under C.R.S. 18-1-
         413 allows an innocent citizen to be denied access to DNA evidence when
         a judicial official uses a false narrative to substantiate a deficiency in
         the pleadings.” (Id. at ¶ 54.) This is significant as it clearly indicates
         that Plaintiff’s primary objection to the DNA statute has to do with the
         way state judicial officials chose to apply the law in his case, not with
         the constitutionality of the law itself. As Defendant Woods notes, “the
         basis of Plaintiff’s First Amended Complaint is that Colorado state
         courts are denying him procedural due process in their application of the
         post-conviction DNA statute and that the statute, as applied in this in-
         stance, is unconstitutional.” (Doc. No. 68 at 8.) Challenges of this sort,
         by    contrast   to   facial   constitutional    challenges,    amount     to


              1 Notably, this is precisely the claim that was not barred by Rooker-

         Feldman in Skinner v. Switzer, 562 U.S. 521, 530 (2011). There, how-
         ever, counsel for Skinner elaborated that the Texas postconviction DNA
         statute was unconstitutional because it was construed by the state
         courts to “completely foreclose any prisoner who could have sought DNA
         testing prior to trial, but did not, from seeking testing” postconviction.
         Id. Here, on the other hand, Plaintiff offers no substantive arguments
         supporting his assertion that the Colorado postconviction DNA statute
         is unconstitutional.

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        jurisdictionally-barred disputations of state court judicial determina-
        tions. See Cooper v. Ramos, 704 F.3d 772, 781 (9th Cir. 2012) (“Because
        Cooper in fact challenges the particular outcome in his state case, it is
        immaterial that Cooper frames his federal complaint as a constitutional
        challenge to the state court’s decision, rather than as a direct appeal of
        that decision.”) (cleaned up); Wade v. Monroe Cnty. Dist. Attorney, 800
        Fed. App’x. 114, 119 (3d Cir. 2020) (holding that Rooker-Feldman barred
        claim where plaintiff was challenging the state court’s “particular inter-
        pretation of the DNA statute and application of the statute to him”);
        McKithen v. Brown, 626 F.3d 143, 154-55 (2d Cir. 2010) (holding that
        Rooker-Feldman barred claim that “state court incorrectly and uncon-
        stitutionally interpreted the [New York DNA] statute by not assuming
        exculpatory results”). Plaintiff’s suit is therefore the quintessential type
        which is encompassed by the Rooker-Feldman doctrine.

           I am aware that the Supreme Court and the Tenth Circuit have re-
        cently reversed lower courts for employing the Rooker-Feldman doctrine
        too liberally. See, e.g., Reed v. Goertz, 598 U.S. 230, 237 (2023). The facts
        of those cases, however, are readily distinguishable from the facts of this
        one. In McGowan v. Wal-Mart Stores, the Tenth Circuit found that the
        District of Colorado improperly invoked the Rooker-Feldman doctrine
        because “the doctrine applies only to claims resting on allegations in-
        volving [] state-court proceedings” and the plaintiff’s federal lawsuit did
        “not even mention the state-court lawsuit.” 757 Fed. App’x. 786, 787
        (10th Cir. 2019). Similarly, in Huey v. Kunzweiler for Tulsa Cnty. State,
        the Tenth Circuit found that the Northern District of Oklahoma was
        incorrect to construe the plaintiff’s complaint as a challenge to a state
        court judgment, noting that “Mr. Huey’s complaint does not even discuss
        his motion or the state-courts’ disposition of the motion…[and] therefore
        cannot be fairly read as seeking review and reversal of state-court


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        decisions that he does not even discuss.” 847 Fed. App’x. 530, 533 (10th
        Cir. 2021). Here, by contrast, the state court lawsuit is mentioned
        throughout the complaint and is a focal point of the Plaintiff’s argu-
        ments.

            In Drexler v. Spahn, the Tenth Circuit similarly found that this court
        had improperly invoked the Rooker-Feldman doctrine with respect to
        the plaintiff’s claim that a state statute underlying a protection order
        was unconstitutional. No. 21-1368, 2022 WL 17333076, at *4 (10th Cir.
        Nov. 30, 2022). It noted that the plaintiff challenged the constitutional-
        ity of the state statutes and specifically alleged that the “Colorado pro-
        tection order statutes are substantially overbroad and vague.” Id. Plain-
        tiff here, by contrast, does not offer any reason why the Colorado post-
        conviction statute is facially unconstitutional. Instead, he only chal-
        lenges how state court judges chose to apply the statute to the facts of
        his case.

           In Graff v. Aberdeen Enterprizes, II, Inc., the Tenth Circuit again
        found that the Northern District of Oklahoma had erred in applying the
        Rooker-Feldman doctrine. 65 F.4th 500, 518 (10th Cir. 2023). Specifi-
        cally, it found that the plaintiffs’ claims were not properly barred by the
        district court because the plaintiffs were not challenging state court
        judgments themselves but were instead challenging the constitutional-
        ity of the debt-collection practices that were used to enforce them. Id.
        Here, on the other hand, Plaintiff specifically takes issue with the state
        court judgment itself.

           Considering these facts and record as a whole, it is clear that Plaintiff
        satisfies all the requirements of the Rooker-Feldman doctrine: he is a
        state court loser, he complains of injuries caused by a state court judg-
        ment, this judgment was rendered before federal proceedings


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        commenced, and Plaintiff invites federal review of this judgment. Plain-
        tiff’s suit must therefore be dismissed for lack of subject-matter jurisdic-
        tion.

                                     CONCLUSION

           It is ORDERED that:

           Defendants’ Motions to Dismiss (Doc. Nos. 41; 43; 47; 72) are
        GRANTED; and Plaintiff’s Amended Complaint (Doc. No. 39) is DIS-
        MISSED WITHOUT PREJUDICE.

           It is further ordered that Plaintiff’s Motion for a Preliminary Injunc-
        tion (Doc. No. 48) is DENIED as moot.

        DATED: April 19, 2024                 BY THE COURT:



                                              Daniel D. Domenico
                                              United States District Judge




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